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                 EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION



    In re EZCORP, INC. SECURITIES                      Lead Case No. 1:15-CV-00608-SS
    LITIGATION
                                                       Honorable Sam Sparks



                DECLARATION OF LANCE CAVALLO REGARDING
                (A) MAILING OF THE NOTICE AND CLAIM FORM;
                 (B) PUBLICATION OF SUMMARY NOTICE; AND
         (C) REPORT ON REQUESTS FOR EXCLUSION RECEIVED TO DATE

           I, Lance Cavallo, declare and state as follows:

           1.       I am a Senior Project Manager of Class Actions at Kurtzman Carson

Consultants LLC (“KCC”). Pursuant to the Court’s August 5, 2019 Order Preliminarily Approving

Settlement and Providing for Notice (the “Preliminary Approval Order”), KCC was appointed as

the Claims Administrator in connection with the proposed Settlement of the above-captioned

Action. 1 I have personal knowledge of the matters stated herein and, if called upon, could and

would testify thereto.

                          MAILING OF THE POSTCARD NOTICE

           2.       Pursuant to the Preliminary Approval Order, KCC is responsible for

disseminating the Postcard Notice and, upon request, the Notice of (I) Pendency of Class Action

and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of

Attorneys’ Fees and Reimbursement of Litigation Expenses to potential Settlement Class Members

(the “Long Form Notice”), and the Proof of Claim and Release Form (the “Claim Form” and,

together with the Long Form Notice, the “Notice Packet”) to potential Settlement Class Members.

A copy of the Postcard Notice, Long Form Notice, and Claim Form are attached hereto as Exhibit

A.



1
  All terms with initial capitalization not otherwise defined herein shall have the meanings ascribed
to them in the Stipulation of Settlement, dated July 18, 2019 (the “Stipulation”).

DECLARATION OF LANCE CAVALLO REGARDING (A) MAILING OF THE NOTICE AND CLAIM FORM; (B)               1
PUBLICATION OF SUMMARY NOTICE; AND (C) REPORT ON REQUESTS FOR EXCLUSION RECEIVED TO DATE
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            3.       In accordance with the Stipulation and Preliminary Approval Order, by way of

Class Counsel, KCC received from American Stock Transfer and Trust Company, the transfer

agent for EZCORP, Inc. (“EZCORP”), a list containing the names and addresses of 17 persons or

entities who purchased EZCORP common stock during the period from January 28, 2014 through

October 20, 2015, inclusive (the "Settlement Class Period"). On August 28, 2019, KCC

disseminated Postcard Notices by first-class mail to the 17 potential Settlement Class Members

contained on this list.

            4.       As in most class actions of this nature, a large majority of potential Settlement

Class Members are beneficial purchasers whose securities were held in “street name” – i.e., the

securities were purchased by brokerage firms, banks, institutions and other third-party nominees

in the name of the nominee, on behalf of the beneficial purchasers. KCC maintains a proprietary

database with the names and addresses of the largest and most common U.S. banks, brokerage

firms, and nominees, including national and regional offices of certain nominees (the “Nominee

Database”). KCC’s Nominee Database is updated from time to time as new nominees are

identified, and others merge or cease to exist. At the time of the initial mailing, the Nominee

Database contained 961 mailing records. On August 28, 2019, KCC caused Postcard Notices to be

mailed to the 961 mailing records contained in KCC’s Nominee Database.

            5.       The Long Form Notice directed those who purchased or otherwise acquired

publicly traded common stock of EZCORP during the Settlement Class Period, for the beneficial

interest of persons or organizations other than themselves, to provide KCC with the name and last

known address of each person or entity for whom the Nominee executed such transactions. KCC

then caused the Postcard Notice to be mailed promptly to said beneficial owners. Alternatively,

Nominees may request additional copies of the Postcard Notice from KCC, in which case the

Nominees are required to promptly mail the Postcard Notice directly to the persons for whom the

transactions were made.

            6.       Following the initial mailing, through October 30, 2019, KCC has received an

additional 4,396 unique names and addresses of potential Settlement Class Members from


DECLARATION OF LANCE CAVALLO REGARDING (A) MAILING OF THE NOTICE AND CLAIM FORM; (B)                2
PUBLICATION OF SUMMARY NOTICE; AND (C) REPORT ON REQUESTS FOR EXCLUSION RECEIVED TO DATE
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individuals or nominees requesting that a Postcard Notice be mailed to such persons or entities.

Additionally, KCC has received requests from nominees for an additional 8,347 unaddressed

Postcard Notices to be forwarded by the nominees to their customers. All such requests have been

honored in a timely manner, and KCC will continue to disseminate Postcard Notices upon receipt

of any additional requests and/or upon receipt of updated addresses.

           7.        As a result of the efforts described above, as of October 30, 2019, KCC has

mailed a total of 13,741 Postcard Notices to potential Settlement Class Members and nominees. 2

                        PUBLICATION OF THE SUMMARY NOTICE

           8.        Pursuant to the Preliminary Approval Order, on September 9, 2019, KCC

caused the Summary Notice to be published in Investor’s Business Daily and to be transmitted

over PR Newswire. Attached hereto as Exhibit B are confirmations of publication and transmittal.
                                   TELEPHONE HOTLINE

           9.        KCC established and continues to maintain a toll-free telephone number

(1-877-295-8619) for potential Settlement Class Members to call and obtain information about the

Settlement, request a Notice Packet, and/or seek assistance from a live operator during regular

business hours. The telephone hotline became operational on August 28, 2019.

                                   SETTLEMENT WEBSITE

           10.       To further assist potential Settlement Class Members, KCC, in coordination

with   Lead      Counsel,   designed,   implemented    and   currently   maintains    a    website,

www.EZCorpSettlement.com, dedicated to the Settlement (the “Settlement Website”). The

address for the Settlement Website is set forth in the Postcard Notice, Long Form Notice, Claim

Form and Summary Notice. The Settlement Website became operational on August 28, 2019, and

is accessible 24 hours a day, 7 days a week. The Settlement Website lists the exclusion, objection,

and claim submission deadlines, as well as the date and time of the Court’s Settlement Hearing. In


2
  This figure includes 20 Postcard Notices that were initially returned as undeliverable by the
United States Postal Service, but re-mailed based on updated addresses provided by the United
States Postal Service or obtained through a third-party vendor.


DECLARATION OF LANCE CAVALLO REGARDING (A) MAILING OF THE NOTICE AND CLAIM FORM; (B)              3
PUBLICATION OF SUMMARY NOTICE; AND (C) REPORT ON REQUESTS FOR EXCLUSION RECEIVED TO DATE
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         Exhibit A
Case    1:15-cv-00608-SS
In re EZCORP,                      Document 144-1 Filed 11/01/19 Page 7 of 121
              Inc. Securities Litigation
c/o KCC Class Action Services
P.O. Box 43046
Providence, RI 02940-3046




COURT-ORDERED
LEGAL NOTICE

Important Notice about a                     <<BarCode>>
Securities Class Action Settlement.          Postal Service: Please Do Not Mark Barcode
You may be entitled to a CASH payment.
This Notice may affect your legal rights.    EIL
Please read it carefully.
In re EZCORP, Inc. Class Action Litigation
Lead Case No. 1:15-CV-00608-SS




EIL
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                       THIS CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT.
                            PLEASE VISIT www.EZCORPsettlement.com FOR MORE INFORMATION.
There has been a proposed Settlement of claims against EZCORP, INC. (“EZCORP”) and an executive of EZCORP (collectively, the
“Defendants”). The Settlement would resolve a lawsuit in which Plaintiff alleges that Defendants disseminated materially false and
misleading information to the investing public about their financials and loan sales, in violation of the federal securities laws. Defendants
deny any wrongdoing. You received this Postcard Notice because you or someone in your family may have purchased or otherwise
acquired EZCORP Class A Common Stock between January 28, 2014 and October 20, 2015, inclusive, and been damaged thereby.
Defendants have agreed to pay a Settlement Amount of $4.875 million. The Settlement provides that the Settlement Fund, after
deduction of any Court-approved attorneys’ fees and expenses, notice and administration costs, and taxes, is to be divided among
all Settlement Class Members who submit a valid Claim Form, in exchange for the settlement of this case and the Releases by
Settlement Class Members of claims related to this case. For all details of the Settlement, read the Stipulation and full Notice,
available at www.EZCORPsettlement.com.
Your share of the Settlement proceeds will depend on the number of valid claims submitted, and the number, size and timing of your
transactions in EZCORP Class A Common Stock. If every eligible Settlement Class Member submits a valid Claim Form, the average
recovery will be $0.114 per eligible security before expenses and other Court-ordered deductions. Your award will be determined
pro rata based on the number of claims submitted. This is further explained in the detailed Notice found on the Settlement website.
To qualify for payment, you must submit a Claim Form. The Claim Form can be found on the website www.EZCORPsettlement.com,
or will be mailed to you upon request to the Claims Administrator 1-877-295-8619. Claim Forms must be postmarked by
January 25, 2020. If you do not want to be legally bound by the Settlement, you must exclude yourself by November 15, 2019, or you will
not be able to sue the Defendants about the legal claims in this case. If you exclude yourself, you cannot get money from this Settlement.
If you want to object to the Settlement, you may file an objection by November 15, 2019. The detailed Notice explains how to submit a
Claim Form, exclude yourself or object.
The Court will hold a hearing in this case on December 6, 2019, to consider whether to approve the Settlement and a request by
the lawyers representing the Settlement Class for up to one third of the Settlement Fund in attorneys’ fees, plus actual expenses
up to $300,000 for litigating the case and negotiating the Settlement (which equates to a cost of $0.045 per affected share), and
reimbursement of Lead Plaintiff’s costs and expenses related to his representation of the Settlement Class in an amount not to exceed
$10,000. You may attend the hearing and ask to be heard by the Court, but you do not have to. For more information, call toll-free
1-877-295-8619 or visit the website www.EZCORPsettlement.com and read the detailed Notice.
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                                            UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                   AUSTIN DIVISION

  In re EZCORP, INC.                                           Lead Case No. 1:15-CV-00608-SS
  SECURITIES LITIGATION
                                                               Honorable Sam Sparks

                  NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT;
                  (II) SETTLEMENT FAIRNESS HEARING; AND (III) MOTION FOR AN AWARD OF
                       ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES
                  A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may be affected by the above-
captioned securities class action (the “Action”) pending in the United States District Court for the Western District of Texas
(the “Court” or the “Texas Court”), if, during the period between January 28, 2014 and October 20, 2015, inclusive (the
“Settlement Class Period”), you purchased or otherwise acquired EZCORP, Inc. Class A Common Stock and were
damaged thereby. 1
NOTICE OF SETTLEMENT: Please also be advised that Court-appointed Lead Plaintiff John Rooney (“Lead Plaintiff”),
on behalf of himself and the Settlement Class (as defined in ¶ 33 below), have reached a proposed settlement of the
Action for $4,875,000 in cash that, if approved, will resolve all claims in the Action (the “Settlement”).
PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you may have, including the
possible receipt of cash from the Settlement. If you are a member of the Settlement Class, your legal rights will
be affected whether or not you act.
If you have any questions about this Notice, the proposed Settlement, or your eligibility to participate in the
Settlement, please DO NOT contact EZCORP, any other Defendants in the Action, or their counsel. All questions
should be directed to Class Counsel or the Claims Administrator (see ¶ 92 below).
     1.      Description of the Action and the Settlement Class: This Notice relates to a proposed Settlement of
claims in a pending securities class action brought by investors alleging, among other things, that defendants EZCORP,
Inc. (“EZCORP”) and Mark E. Kuchenrither (collectively, the “Defendants”) violated the federal securities laws by making
false and misleading statements regarding EZCORP’s financials and the status of certain loan sales. A more detailed
description of the Action is set forth in paragraphs 11-32 below. The proposed Settlement, if approved by the Court, will
settle claims of the Settlement Class, as defined in paragraph 33 below.
    2.       Statement of the Settlement Class’s Recovery: Subject to Court approval, Lead Plaintiff, on behalf of
himself and the Settlement Class, has agreed to settle the Action in exchange for a settlement payment of $4,875,000 in
cash (the “Settlement Amount”) to be deposited into an escrow account. The Net Settlement Fund (i.e., the Settlement
Amount plus any and all interest earned thereon (the “Settlement Fund”) less (a) any Taxes, (b) any Notice and
Administration Costs, (c) any Litigation Expenses awarded by the Court, and (d) any attorneys’ fees awarded by the
Court) will be distributed in accordance with a plan of allocation that is approved by the Court, which will determine how
the Net Settlement Fund shall be allocated among members of the Settlement Class. The proposed plan of allocation
(the “Plan of Allocation”) is set forth on pages 9-11 below.
    3.       Estimate of Average Amount of Recovery Per Share: Based on Lead Plaintiff’s damages expert’s
estimates of the number of shares of EZCORP Class A common stock purchased during the Settlement Class Period
that may have been affected by the conduct at issue in the Action, and assuming that all Settlement Class Members elect
to participate in the Settlement, the estimated average recovery (before the deduction of any Court-approved fees,
expenses and costs as described herein) per eligible security is $0.114. Settlement Class Members should note,
however, that the foregoing average recovery per share is only an estimate. Some Settlement Class Members may
recover more or less than this estimated amount depending on, among other factors, when and at what prices they
purchased/acquired or sold their EZCORP Class A common stock and the total number of valid Claim Forms submitted.
Distributions to Settlement Class Members will be made based on the Plan of Allocation set forth herein (see pages
9-11 below) or such other plan of allocation as may be ordered by the Court.




1 All capitalized terms used in this Notice that are not otherwise defined herein shall have the meanings ascribed to them in the

Stipulation and Agreement of Settlement dated July 18, 2019 (the “Stipulation”), which is available at www.EZCORPsettlement.com.

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     4.      Average Amount of Damages Per Share: The Parties do not agree on the average amount of damages
per share that would be recoverable if Lead Plaintiff were to prevail in the Action. Among other things, Defendants do not
agree with the assertion that they violated the federal securities laws or that any damages were suffered by any members
of the Settlement Class as a result of their conduct.
     5.       Attorneys’ Fees and Expenses Sought: Plaintiffs’ Counsel, which have been prosecuting the Action on a
wholly contingent basis since its inception in 2015, have not received any payment of attorneys’ fees for their
representation of the Settlement Class and have advanced the funds to pay expenses necessarily incurred to prosecute
this Action. Court-appointed Class Counsel, Block & Leviton LLP and Glancy Prongay & Murray LLP, will apply to the
Court for an award of attorneys’ fees for all Plaintiff’s Counsel in an amount not to exceed one third of the Settlement
Fund. In addition, Class Counsel will apply for reimbursement of Litigation Expenses paid or incurred in connection with
the institution, prosecution and resolution of the claims against the Defendants, in an amount not to exceed $300,000,
which may include an application for reimbursement of the reasonable costs and expenses incurred by Lead Plaintiff
directly related to his representation of the Settlement Class. Any fees and expenses awarded by the Court, or any Lead
Plaintiff award, shall be paid solely from the Settlement Fund and shall be paid to Class Counsel, or with respect to a
Lead Plaintiff award, paid to Lead Plaintiff, within five days following an award ordered by the Court, provided that there
has been a final approval of the Stipulation of Settlement by the Court. If there is any appeal of an award of attorneys’
fees and expenses, or of a Lead Plaintiff award, Class Counsel shall repay any amount of attorneys’ fees or expenses
reversed on appeal to the Settlement Fund. Settlement Class Members are not personally liable for any such fees or
expenses. Estimates of the average cost per affected share of EZCORP Class A common stock, if the Court approves
Class Counsel’s fee and expense application, is $0.045 per eligible share.
    6.     Identification of Attorneys’ Representatives: Lead Plaintiff and the Settlement Class are represented by
Jacob A. Walker, Esq. of Block & Leviton LLP, 260 Franklin Street, Suite 1860, Boston, MA 02110, (617) 398-5617,
jake@blockesq.com and Casey E. Sadler, Esq. of Glancy Prongay & Murray LLP, 1925 Century Park East, Suite 2100,
Los Angeles, CA 90067, (310) 201-9150, settlements@glancylaw.com.
    7.       Reasons for the Settlement: Lead Plaintiff’s principal reason for entering into the Settlement is the
substantial immediate cash benefit for the Settlement Class without the risk or the delays inherent in further litigation.
Moreover, the substantial cash benefit provided under the Settlement must be considered against the significant risk that
a smaller recovery – or indeed no recovery at all – might be achieved after contested motions, Defendants’ appeal of the
court’s order granting class certification, a trial of the Action, and the likely appeals that would follow a trial. This process
could be expected to last several years. Defendants, who deny all allegations of wrongdoing or liability whatsoever, are
entering into the Settlement solely to eliminate the uncertainty, burden and expense of further protracted litigation.




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                      YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:
                                     This is the only way to be eligible to receive a payment from the
                                     Settlement Fund. If you are a Settlement Class Member and you
                                     remain in the Settlement Class, you will be bound by the Settlement
 SUBMIT A CLAIM FORM POSTMARKED
                                     as approved by the Court, and you will give up any Released Plaintiff’s
 NO LATER THAN JANUARY 25, 2020.
                                     Claims (defined in ¶ 42 below) that you have against Defendants and
                                     the other Defendants’ Releasees (defined in ¶ 43 below), so it is in
                                     your interest to submit a Claim Form.
 EXCLUDE YOURSELF FROM THE           If you exclude yourself from the Settlement Class, you will not be
 SETTLEMENT CLASS BY SUBMITTING      eligible to receive any payment from the Settlement Fund. This is the
 A WRITTEN REQUEST FOR EXCLUSION     only option that allows you ever to be part of any other lawsuit against
 SO THAT IT IS RECEIVED NO LATER     any of the Defendants or the other Defendants’ Releasees concerning
 THAN NOVEMBER 15, 2019.             the Released Plaintiff’s Claims.
                                     If you do not like the proposed Settlement, the proposed Plan of
 OBJECT TO THE SETTLEMENT BY         Allocation, or the request for attorneys’ fees and reimbursement of
 SUBMITTING A WRITTEN OBJECTION      Litigation Expenses, you may write to the Court and explain why you
 SO THAT IT IS RECEIVED NO LATER     do not like them. You cannot object to the Settlement, the Plan of
 THAN NOVEMBER 15, 2019.             Allocation or the fee and expense request unless you are a Settlement
                                     Class Member and do not exclude yourself from the Settlement Class.
                                     Filing a written objection and notice of intention to appear by
 GO TO A HEARING ON                  November 15, 2019 allows you to speak in Court, at the discretion of
 DECEMBER 6, 2019, AT 10:00 A.M.,    the Court, about the fairness of the proposed Settlement, the Plan of
 AND FILE A NOTICE OF INTENTION TO   Allocation, and/or the request for attorneys’ fees and reimbursement
 APPEAR SO THAT IT IS RECEIVED       of Litigation Expenses. If you submit a written objection, you may
 NO LATER THAN NOVEMBER 15, 2019.    (but do not have to) attend the hearing and, at the discretion of the
                                     Court, speak to the Court about your objection.
                                     If you are a member of the Settlement Class and you do not submit a
                                     valid Claim Form, you will not be eligible to receive any payment from
                                     the Settlement Fund. You will, however, remain a member of the
 DO NOTHING.
                                     Settlement Class, which means that you give up your right to sue
                                     about the claims that are resolved by the Settlement, and you will be
                                     bound by any judgments or orders entered by the Court in the Action.
                                                            WHAT THIS NOTICE CONTAINS
Why Did I Get The Postcard Notice? .......................................................................................................................... Page 4
What Is This Case About? .......................................................................................................................................Page 4-6
How Do I Know If I Am Affected By The Settlement? Who Is Included In The Settlement Class? ........................... Page 6
What Are Lead Plaintiff’s Reasons For The Settlement? ........................................................................................... Page 6
What Might Happen If There Were No Settlement? ................................................................................................... Page 6
How Are Settlement Class Members Affected By The Action And The Settlement? ..............................................Page 7-8
How Do I Participate In The Settlement? What Do I Need To Do? ........................................................................... Page 8
How Much Will My Payment Be?.......................................................................................................................... Page 8-11
What Payment Are The Attorneys For The Settlement Class Seeking?
How Will The Lawyers Be Paid?............................................................................................................................... Page 12
What If I Do Not Want To Be A Member Of The Settlement Class? How Do I Exclude Myself? ............................ Page 12
When And Where Will The Court Decide Whether To Approve The Settlement?
Do I Have To Come To The Hearing? May I Speak At The Hearing If I Don’t Like The Settlement? ................ Page 12-13
What If I Bought Shares On Someone Else’s Behalf? ............................................................................................. Page 13
Can I See The Court File? Whom Should I Contact If I Have Questions? .............................................................. Page 14




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                                      WHY DID I GET THE POSTCARD NOTICE?
     8.      The Court directed that the Postcard Notice be mailed to you because you or someone in your family or an
investment account for which you serve as a custodian may have purchased or otherwise acquired one or more shares
of EZCORP Class A common stock during the Settlement Class Period. The Court also directed that this Notice be
posted online at www.EZCORPsettlement.com and mailed to you upon request to the Claims Administrator. The Court
has directed us to disseminate these notices because, as a potential Settlement Class Member, you have a right to know
about your options before the Court rules on the proposed Settlement. Additionally, you have the right to understand how
this class action lawsuit may generally affect your legal rights. If the Court approves the Settlement, and the Plan of
Allocation (or some other plan of allocation), the Claims Administrator selected by Lead Plaintiff and approved by the
Court will make payments pursuant to the Settlement after any objections and appeals are resolved.
     9.     The purpose of this Notice is to inform you of the existence of this case, that it is a class action, how you
might be affected, and how to exclude yourself from the Settlement Class if you wish to do so. It is also being sent to
inform you of the terms of the proposed Settlement, and of a hearing to be held by the Court to consider the fairness,
reasonableness, and adequacy of the Settlement, the proposed Plan of Allocation and the motion by Class Counsel for
an award of attorneys’ fees and reimbursement of Litigation Expenses (the “Settlement Hearing”). See paragraph 83
below for details about the Settlement Hearing, including the date and location of the hearing.
    10.      The issuance of this Notice is not an expression of any opinion by the Court concerning the merits of any
claim in the Action, and the Court still has to decide whether to approve the Settlement. If the Court approves the
Settlement and a plan of allocation, then payments to Authorized Claimants will be made after any appeals are resolved
and after the completion of all claims processing. Please be patient, as this process can take some time to complete.
                                             WHAT IS THIS CASE ABOUT?
   11.      This litigation stems from EZCORP’s November 9, 2015 Restatement of its financial results for fiscal years
2012, 2013, 2014, and Q1 2015. Plaintiff’s claims arise from Defendants statements regarding the sale of six Grupo
Finmart loan receivables and the performance of Grupo Finmart’s loan portfolio.
    12.     On July 20, 2015, Plaintiff Wu Huang initiated this Action by filing a Class Action Complaint for Violations of
the Federal Securities Laws in the Western District of Texas, Austin Division, styled Huang v. EZCORP, Inc., et al., Case
No. 1:15-cv-608. Dkt. 1. The Action was assigned to United States District Judge Sam Sparks on July 21, 2015. On
August 14, 2015, Plaintiff John Rooney filed a related action captioned Rooney v. EZCORP, Inc., et al.,
Case No. 1:15-cv-700.
    13.       By Order dated November 3, 2015, Judge Sparks appointed Wu Huang and John Rooney as Co-Lead
Plaintiffs, approved Co-Lead Plaintiffs’ selections of Glancy Prongay & Murray LLP and Block & Leviton LLP as Co-Lead
Counsel and The Kendall Law Group, PLLC as Liaison Counsel, and ordered that the cases be consolidated and
recaptioned as In re EZCORP, Inc. Securities Litigation, No. 1:15-cv-608-SS.
   14.      On January 11, 2016, plaintiffs Wu Huang and John Rooney filed their Amended Class Action Complaint (the
“Amended Complaint”), asserting claims against all Defendants under Section 10(b) of the Securities Exchange Act of
1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder, and against Defendant Mark E. Kuchenrither under
Section 20(a) of the Exchange Act. Dkt. 29.
    15.       On February 25, 2016, Defendants filed a motion to dismiss the Amended Complaint. Dkt. 32. On
April 11, 2016, Plaintiffs filed their papers in opposition and, on May 11, 2016, Defendants filed their reply papers. By
May 11, 2016, all of the briefing on Defendants’ motion to dismiss the Amended Complaint had been filed in the Western
District of Texas.
   16.   By Order dated October 18, 2016, District Judge Sam Sparks granted Defendants’ motion to dismiss the
Amended Complaint, without prejudice. Dkt. 44.
    17.      Plaintiffs filed their Second Amended Class Action Complaint (the “SAC”) on November 4, 2016, again
asserting claims against all Defendants under Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”)
and Rule 10b-5 promulgated thereunder, and against Defendant Mark E. Kuchenrither under Section 20(a) of the
Exchange Act. Dkt. 47. Plaintiffs alleged that Defendants made material misstatements and omissions in connection
with the sale of six Grupo Finmart loan receivables, including that the loan sales were “true asset sales” and “non-recourse
to EZCORP.” Plaintiffs further alleged that the loan sales were with recourse to EZCORP, should not have been recorded
as sales, and, thus, resulted in EZCORP improperly recognizing revenue on the sales. Plaintiffs also alleged that
EZCORP failed to properly write down Grupo Finmart’s non-performing loans. Finally, Plaintiffs alleged that the price of
EZCORP’s common stock was artificially inflated during the Class Period and declined when the truth was revealed.
    18.     Defendants denied Plaintiffs’ allegations—and continue to deny any wrongdoing or that they have committed
any act or omission giving rise to any liability or violation of law, including the U.S. securities laws—and on December 5,
2016, Defendants filed a motion to dismiss the SAC. Dkt. 50. On January 6, 2017, Plaintiffs filed their papers in opposition

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and, on January 20, 2017, Defendants filed their reply papers. By January 20, 2017, all of the briefing on Defendants’
motion to dismiss the SAC had been filed in the Western District of Texas.
     19.      By Order dated May 8, 2017, District Judge Sam Sparks granted Defendants’ motion to dismiss the SAC in
part and denied it in part, concluding that Plaintiffs’ allegations concerning Grupo Finmart’s non-performing loans failed
to raise a strong inference of scienter but permitting Plaintiffs’ claims regarding the Grupo Finmart loan sales to proceed.
Dkt. 54. Defendants filed Answers on June 9, 2017. Dkts. 64-65.
    20.     On July 20, 2017, Class Counsel and Defendants’ Counsel participated in a full-day mediation session before
Robert A. Meyer, Esq., of JAMS. In advance of that session, the Parties prepared and exchanged detailed mediation
statements and exhibits addressing liability and damages issues. The session ended without any agreement being reached.
    21.      On December 21, 2017, the Court granted Plaintiff Wu Huang’s motion to withdraw as Co-Lead Plaintiff. Dkt. 75.
   22.     On January 31, 2018, Lead Plaintiff John Rooney moved for class certification. Dkt. 77. On March 16, 2018,
Defendants filed their papers in opposition and, on April 20, 2018, Lead Plaintiff filed his reply papers.
    23.     On April 20, 2018, Lead Plaintiff moved for leave to file a Third Amended Complaint (“TAC”). Dkt. 83. The
TAC alleged the same causes of action as the SAC, but narrowed the Class Period and incorporated additional allegations
regarding Defendants’ failure to properly account for non-performing payroll loans—a claim Judge Sparks had previously
dismissed on scienter grounds, but which Lead Plaintiff sought to renew based on documentation obtained during
discovery. After briefing on the motion for leave to file a TAC, the Court granted leave to amend on July 26, 2018, and
ordered the Parties to re-brief class certification given the changes to Plaintiff’s allegations. Dkt. 102. Lead Plaintiff filed
his TAC on that same day. Dkt. 106.
    24.      Defendants filed Answers to the TAC on August 3, 2018. Dkts. 109-10.
    25.     On August 31, 2018, Lead Plaintiff filed an amended motion for class certification. Dkt. 113. On
September 28, 2018, Defendants filed their papers in opposition Dkt. 114. On October 12, 2018, Lead Plaintiff filed his
reply papers (Dkt. 114) and on October 19, 2018, Defendants filed a sur-reply. Dkt. 116.
    26.      After the filing of the TAC, the Parties again attempted to resolve the Action through mediation. In advance of
another full-day mediation session overseen by Mediator Robert A. Meyer Esq. on November 1, 2018, the Parties again
exchanged detailed briefs concerning liability and damages issues. The session ended without an agreement being reached.
     27.     By Order dated February 19, 2019, the Court granted Lead Plaintiff’s motion, certifying a class consisting of
“all persons and entities that purchased or otherwise acquired EZCORP, Inc. Class A common stock between
January 28, 2014 and October 20, 2015, inclusive, and were damaged thereby.” The Court further appointed Lead
Plaintiff John Rooney as Class Representative, appointed Block & Leviton LLP and Glancy Prongay & Murray LLP as
Class Counsel, and appointed The Kendall Law Group, PLLC as Liaison Counsel. Dkt. 120.
     28.      On March 25, 2019, the Fifth Circuit granted Defendants leave to file an interlocutory appeal of the class
certification order under Fed. R. Civ. P. 23(f). Dkt. 127.
    29.      While Defendants’ appeal was pending before the Fifth Circuit, the Parties continued to conduct discussions
with each other and Mediator Robert A. Meyer, Esq. Those discussions ultimately resulted in an agreement in principle
to settle the Action, which the Parties memorialized in a Memorandum of Understanding (the “MOU”) executed on
May 30, 2019. The MOU sets forth, among other things, Lead Plaintiff and all members of the Class’s agreement to settle
and release all claims arising out of, based upon, or related to their purchase or acquisition of EZCORP class A common
stock during the Class Period, and the allegations, transactions, facts, matters, occurrences, representations, or
omissions involved, set forth, or referred to in the TAC, included but not limited to those allegations, transactions, facts,
matters, occurrences, representations, or omissions related to EZCORP’s November 2015 Restatement, in return for a
cash payment by or on behalf of Defendants of $4,875,000 for the benefit of the Settlement Class, subject to certain terms
and conditions and the execution of a customary “long form” stipulation and agreement of settlement and related papers
    30.     At the time of MOU was executed, Class Counsel had engaged in substantial discovery, including the targeted
review of 38,549 documents produced by Defendants, the issuance of 17 subpoenas on third parties, who produced
10,079 documents that were reviewed by Class Counsel, and the taking of four fact depositions of EZCORP employees
and other third-party witnesses.
    31.       Defendants are entering into the Settlement solely to eliminate the uncertainty, burden and expense of further
protracted litigation. Each of the Defendants denies any wrongdoing, and the Stipulation shall in no event be construed
or deemed to be evidence of or an admission or concession on the part of any of the Defendants, or any other of the
Defendants’ Releasees (defined in ¶ 43 below), with respect to any claim or allegation of any fault or liability or wrongdoing
or damage whatsoever, or any infirmity in the defenses that the Defendants have, or could have, asserted. Similarly, the
Settlement shall in no event be construed or deemed to be evidence of or an admission or concession on the part of Lead
Plaintiff of any infirmity in any of the claims asserted in the Action, or an admission or concession that any of the
Defendants’ defenses to liability had any merit.

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    32.     On August 5, 2019, the Court preliminarily approved the Settlement, authorized the Postcard Notice to be
mailed to potential Settlement Class Members and this Notice to be posted online and mailed to potential Settlement
Class Members upon request, and scheduled the Settlement Hearing to consider whether to grant final approval to
the Settlement.
                            HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
                               WHO IS INCLUDED IN THE SETTLEMENT CLASS?
    33.    If you are a member of the Settlement Class, you are subject to the Settlement, unless you timely request to
be excluded. The Settlement Class consists of:
        all persons and entities that purchased or otherwise acquired EZCORP, Inc. Class A common stock
        between January 28, 2014 and October 20, 2015, inclusive, and were damaged thereby.
     Excluded from the Settlement Class are Defendants; the officers and directors of the Company during the Settlement
Class Period (the “Excluded Officers and Directors”); members of the Immediate Families of the Individual Defendant and
of the Excluded Officers and Directors; any entity in which any Defendant, any Excluded Officer or Director, or any of
their respective Immediate Family members had during the Settlement Class Period and/or has a controlling interest; and
the legal representatives, heirs, successors or assigns of any excluded person or entity, in their respective capacity as
such. Also excluded from the Settlement Class are the persons and entities who or which timely and validly seek
exclusion from the Settlement Class or whose request for exclusion is accepted by the Court. See “What If I Do Not Want
To Be A Member Of The Settlement Class? How Do I Exclude Myself,” on page 12 below.
   PLEASE NOTE: RECEIPT OF THE POSTCARD NOTICE DOES NOT MEAN THAT YOU ARE A SETTLEMENT
CLASS MEMBER OR THAT YOU WILL BE ENTITLED TO RECEIVE PROCEEDS FROM THE SETTLEMENT.
        If you are a Settlement Class Member and you wish to be eligible to participate in the distribution
        of proceeds from the Settlement, you are required to submit the Claim Form that is available
        online at www.EZCORPsettlement.com or which can be mailed to you upon request to the Claims
        Administrator, and the required supporting documentation as set forth therein, postmarked no
        later than January 25, 2020.
                        WHAT ARE LEAD PLAINTIFF’S REASONS FOR THE SETTLEMENT?
     34.       Lead Plaintiff and Class Counsel believe that the claims asserted against Defendants have merit. They
recognize, however, the expense and length of continued proceedings necessary to pursue their claims against the
remaining Defendants through trial and appeals, as well as the very substantial risks they would face in establishing
liability and damages. Defendants have appealed the district court’s order granting class certification, and with respect
to Plaintiff’s claims generally, Lead Plaintiff and Class Counsel recognized that Defendants had numerous avenues of
attack that could preclude a recovery as to that statement. For example, Defendants would assert that the alleged
misstatements were not made with the requisite state of mind to support the securities fraud claims alleged. Even if the
hurdles to establishing liability were overcome, the amount of damages that could be attributed to Defendants’ allegedly
false statements would be hotly contested. Plaintiff would have to prevail at several stages – the appeal of class
certification, motions for summary judgment, and trial – and if they prevailed at those stages, on the appeals that would
likely follow. Thus, there were very significant risks attendant to the continued prosecution of the Action.
     35.     In light of these risks, the amount of the Settlement and the immediacy of recovery to the Settlement Class,
Lead Plaintiff and Class Counsel believe that the proposed Settlement is fair, reasonable and adequate, and in the best
interests of the Settlement Class. Lead Plaintiff and Class Counsel believe that the Settlement provides a substantial
benefit to the Settlement Class, namely $4,875,000 in cash (less the various deductions described in this Notice), as
compared to the risk that the claims in the Action would produce a smaller, or no recovery after summary judgment, trial
and appeals, possibly years in the future.
    36.    Defendants have denied the claims asserted against them in the Action and deny having engaged in any
wrongdoing or violation of law of any kind whatsoever. Defendants have agreed to the Settlement solely to eliminate the
burden and expense of continued litigation. Accordingly, the Settlement may not be construed as an admission of any
wrongdoing by Defendants.
                             WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?
      37.    If there were no Settlement and Lead Plaintiff failed to establish any essential legal or factual element of their
claims against Defendants, neither Lead Plaintiff nor the other members of the Settlement Class would recover anything
from Defendants. Also, if Defendants were successful in proving any of their defenses, either at summary judgment, at
trial or on appeal, the Settlement Class could recover substantially less than the amount provided in the Settlement, or
nothing at all.



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       HOW ARE SETTLEMENT CLASS MEMBERS AFFECTED BY THE ACTION AND THE SETTLEMENT?
     38.     As a Settlement Class Member, you are represented by Lead Plaintiff and Class Counsel, unless you enter
an appearance through counsel of your own choice at your own expense. You are not required to retain your own counsel,
but if you choose to do so, such counsel must file a notice of appearance on your behalf and must serve copies of his or
her appearance on the attorneys listed in the section entitled, “When And Where Will The Court Decide Whether To
Approve The Settlement?,” on pages 12-13 below.
    39.    If you are a Settlement Class Member and do not wish to remain a Settlement Class Member, you may
exclude yourself from the Settlement Class by following the instructions in the section entitled, “What If I Do Not Want To
Be A Member Of The Settlement Class? How Do I Exclude Myself?,” on page 12 below.
    40.      If you are a Settlement Class Member and you wish to object to the Settlement, the Plan of Allocation, or
Class Counsel’s application for attorneys’ fees and reimbursement of Litigation Expenses, and if you do not exclude
yourself from the Settlement Class, you may present your objections by following the instructions in the section entitled,
“When And Where Will The Court Decide Whether To Approve The Settlement?,” below.
     41.      If you are a Settlement Class Member and you do not exclude yourself from the Settlement Class, you will
be bound by any orders issued by the Court. If the Settlement is approved, the Court will enter a judgment
(the “Judgment”). The Judgment will dismiss with prejudice the claims against Defendants and will provide that, upon the
Effective Date of the Settlement, Lead Plaintiff and each of the other Settlement Class Members, on behalf of themselves
and their respective heirs, executors, administrators, predecessors, successors, and assigns in their capacities as such,
will have fully, finally and forever compromised, settled, released, resolved, relinquished, waived and discharged each
and every Released Plaintiff’s Claim (as defined in ¶ 42 below) against the Defendants and the other Defendants’
Releasees (as defined in ¶ 43 below), and shall forever be barred and enjoined from prosecuting any or all of the Released
Plaintiff’s Claims against any of the Defendants’ Releasees.
     42.     “Released Plaintiffs’ Claims” means all claims, demands, rights, liabilities, and causes of action of every
nature and description (including, but not limited to, any claims for damages, interest, attorneys’ fees, expert or consulting
fees, and any other costs, expenses or liabilities whatsoever), whether known claims or Unknown Claims, whether arising
under federal, state, common or foreign law, or any other law, rule, ordinance, administrative provision or regulation, that
Lead Plaintiff or any other member of the Settlement Class: (i) asserted in the TAC; (ii) could have asserted in any forum
that arise out of or are based upon the allegations, transactions, facts, matters or occurrences, representations or
omissions involved, set forth, or referred to in the TAC and that relate to the purchase of EZCORP Class A common stock
during the Settlement Class Period, including but not limited to those allegations, transactions, facts, matters,
occurrences, representations, or omissions related to EZCORP’s November 2015 Restatement; or (iii) could have
asserted in any forum that arise out of or relate in any way to the defense or settlement of the claims asserted in the
Action. Released Plaintiffs’ Claims do not include: (a) any claims relating to the enforcement of the Settlement; and
(b) any Excluded Claims.
     43.      “Defendants’ Releasees” means Defendants and their current and former parents, subsidiaries, affiliates,
predecessors-in-interest, successors-in-interest, current or former directors, officers, employees, attorneys, accounts,
insurers, agents, representatives, principals, assigns, subrogees, stockholders, partners, trustees, heirs, beneficiaries,
servants, all persons claiming rights derivatively of them, and all other persons, trusts, partners, entities or corporations
in privity with any of them or otherwise affiliated or related to any of them, in their capacities as such.
     44.      “Unknown Claims” means any Released Plaintiffs’ Claims which Lead Plaintiff or any other Settlement Class
Member does not know or suspect to exist in his, her or its favor at the time of the release of such claims, and any
Released Defendants’ Claims which any Defendant or any other Defendants’ Releasee does not know or suspect to exist
in his, her, or its favor at the time of the release of such claims, which, if known by him, her or it, might have affected his,
her or its decision(s) with respect to this Settlement. With respect to any and all Released Claims, the Parties stipulate
and agree that, upon the Effective Date of the Settlement, Lead Plaintiff and Defendants shall expressly waive, and each
of the other Settlement Class Members and each of the other Defendants’ Releasees shall be deemed to have waived,
and by operation of the Judgment or the Alternate Judgment, if applicable, shall have expressly waived, any and all
provisions, rights, and benefits conferred by any law of any state or territory of the United States, or principle of common
law or foreign law, which is similar, comparable, or equivalent to California Civil Code § 1542, which provides:
        A general release does not extend to claims which the creditor does not know or suspect to exist in his
        or her favor at the time of executing the release, which if known by him or her must have materially
        affected his or her settlement with the debtor.
   Lead Plaintiff and Defendants acknowledge, and each of the other Settlement Class Members and each of the other
Defendants’ Releasees shall be deemed by operation of law to have acknowledged, that the foregoing waiver was
separately bargained for and a key element of the Settlement.



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    45.     The Judgment will also provide that, upon the Effective Date of the Settlement, Defendants, on behalf of
themselves and their respective heirs, executors, administrators, predecessors, successors, and assigns in their
capacities as such, shall be deemed to have, and by operation of law and of the judgment shall have, fully, finally and
forever compromised, settled, released, resolved, relinquished, waived and discharged each and every Released
Defendants’ Claim against Lead Plaintiff and the other Plaintiffs’ Releasees, and shall forever be barred and enjoined
from prosecuting any or all of the Released Defendants’ Claims against any of the Plaintiffs’ Releasees.
     46.     “Released Defendants’ Claims” means all claims and causes of action of every nature and description
(including, but not limited to, any claims for damages, interest, attorneys’ fees, expert or consulting fees, and any other costs,
expenses or liabilities whatsoever), whether known claims or Unknown Claims, whether arising under federal, state, common
or foreign law, or any other law, rule, ordinance, administrative provision or regulation, that arise out of or relate in any way
to the institution, prosecution, or settlement of the claims asserted in the Action against the Defendants. Released
Defendants’ Claims do not include any claims relating to the enforcement of the Settlement or any claims against any person
or entity who or which submits a request for exclusion from the Settlement Class that is accepted by the Court.
    47.     “Plaintiffs’ Releasees” means Lead Plaintiff, all other plaintiffs in the Action, their respective attorneys, and all
other Settlement Class Members, and their respective current and former officers, directors, agents, parents, affiliates,
subsidiaries, successors, predecessors, assigns, assignees, employees, and attorneys, in their capacities as such.
                     HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED TO DO?
    48.     To be eligible for a payment from the proceeds of the Settlement, you must be a member of the Settlement
Class and you must timely complete and return the Claim Form with adequate supporting documentation postmarked no
later than January 25, 2020. A Claim Form is available on the website maintained by the Claims Administrator for the
Settlement, www.EZCORPsettlement.com, or you may request that a Claim Form be mailed to you by calling the Claims
Administrator toll-free at 1-877-295-8619. Please retain all records of your ownership of and transactions in EZCORP Class
A common stock, as they may be needed to document your Claim. If you request exclusion from the Settlement Class or
do not submit a timely and valid Claim Form, you will not be eligible to share in the Net Settlement Fund.
                                           HOW MUCH WILL MY PAYMENT BE?
  49.    At this time, it is not possible to make any determination as to how much any individual Settlement Class
Member may receive from the Settlement.
     50.      Pursuant to the Settlement, Defendants have agreed to pay or caused to be paid four million, eight hundred
seventy-five thousand dollars ($4,875,000) in cash. The Settlement Amount will be deposited into an escrow account.
The Settlement Amount plus any interest earned thereon is referred to as the “Settlement Fund.” If the Settlement is
approved by the Court and the Effective Date occurs, the “Net Settlement Fund” (that is, the Settlement Fund less
(a) all federal, state and/or local taxes on any income earned by the Settlement Fund and the reasonable costs incurred
in connection with determining the amount of and paying taxes owed by the Settlement Fund (including reasonable
expenses of tax attorneys and accountants); (b) the costs and expenses incurred in connection with providing notice to
Settlement Class Members and administering the Settlement on behalf of Settlement Class Members; and
(c) any attorneys’ fees and Litigation Expenses awarded by the Court) will be distributed to Settlement Class Members
who submit valid Claim Forms, in accordance with the proposed Plan of Allocation or such other plan of allocation as the
Court may approve.
    51.      The Net Settlement Fund will not be distributed unless and until the Court has approved the Settlement and
a plan of allocation, and the time for any petition for rehearing, appeal or review, whether by certiorari or otherwise,
has expired.
    52.     Neither Defendants nor any other person or entity that paid any portion of the Settlement Amount on their
behalf are entitled to get back any portion of the Settlement Fund once the Court’s order or judgment approving the
Settlement becomes Final. Defendants shall not have any liability, obligation or responsibility for the administration of the
Settlement, the disbursement of the Net Settlement Fund or the plan of allocation.
    53.      Approval of the Settlement is independent from approval of a plan of allocation. Any determination with
respect to a plan of allocation will not affect the Settlement, if approved.
    54.       Unless the Court otherwise orders, any Settlement Class Member who fails to submit a Claim Form
postmarked on or before January 25, 2020 shall be fully and forever barred from receiving payments pursuant to the
Settlement but will in all other respects remain a Settlement Class Member and be subject to the provisions of the
Stipulation, including the terms of any Judgment entered and the releases given. This means that each Settlement Class
Member releases the Released Plaintiff’s Claims (as defined in ¶ 42 above) against the Defendants’ Releasees
(as defined in ¶ 43 above) and will be enjoined and prohibited from filing, prosecuting, or pursuing any of the Released
Plaintiff’s Claims against any of the Defendants’ Releasees, whether or not such Settlement Class Member submits a
Claim Form.

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     55.    Participants in and beneficiaries of a plan covered by ERISA (“ERISA Plan”) should NOT include any
information relating to their transactions in EZCORP Class A common stock held through the ERISA Plan in any Claim
Form that they may submit in this Action. They should include ONLY those shares or notes that they purchased or
acquired outside of the ERISA Plan. Claims based on any ERISA Plan’s purchases or acquisitions of EZCORP Class A
common stock during the Settlement Class Period may be made by the plan’s trustees. To the extent any of the
Defendants or any of the other persons or entities excluded from the Settlement Class are participants in the ERISA Plan,
such persons or entities shall not receive, either directly or indirectly, any portion of the recovery that may be obtained
from the Settlement by the ERISA Plan.
    56.    The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the Claim of any
Settlement Class Member.
     57.    Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to his, her or
its Claim Form.
    58.       Only Settlement Class Members, i.e., persons and entities who purchased or otherwise acquired EZCORP
Class A common stock during the Settlement Class Period and were damaged as a result of such purchases or
acquisitions will be eligible to share in the distribution of the Net Settlement Fund. Persons and entities that are excluded
from the Settlement Class by definition or that exclude themselves from the Settlement Class pursuant to request will not
be eligible to receive a distribution from the Net Settlement Fund and should not submit Claim Forms. The only securities
that are included in the Settlement are shares of EZCORP Class A common stock.
                                           PROPOSED PLAN OF ALLOCATION
    59.      The objective of the Plan of Allocation is to equitably distribute the Settlement proceeds to those Settlement
Class Members who suffered economic losses as a proximate result of the alleged wrongdoing. The calculations made
pursuant to the Plan of Allocation are not intended to be estimates of, nor indicative of, the amounts that Settlement Class
Members might have been able to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation intended
to be estimates of the amounts that will be paid to Authorized Claimants pursuant to the Settlement. The computations
under the Plan of Allocation are only a method to weigh the claims of Authorized Claimants against one another for the
purposes of making pro rata allocations of the Net Settlement Fund.
    60.       The Plan of Allocation generally measures the amount of loss that a Settlement Class Member can claim for
purposes of making pro rata allocations of the cash in the Net Settlement Fund to Authorized Claimants. The Plan of
Allocation is not a formal damage analysis. Recognized Loss Amounts are based primarily on the price declines observed
over the period during which Lead Plaintiff alleges corrective information was entering the market place. In this case,
Lead Plaintiff alleges that Defendants made false statements and omitted material facts between January 28, 2014 and
October 20, 2015, which had the effect of artificially inflating the prices of EZCORP Class A common stock.
     61.     In order to have recoverable damages, disclosure of the alleged misrepresentations must be the cause of the
decline in the price of EZCORP Class A common stock. Alleged corrective disclosures that removed the artificial inflation
from the price of EZCORP Class A common stock occurred between April 30, 2015 and October 20, 2015. Accordingly,
in order to have a Recognized Loss Amount:
         (a)     EZCORP Class A common stock purchased or otherwise acquired from January 28, 2014 through and
    including April 29, 2015 must have been held through the close of trading on April 29, 2015, the day prior to the first
    corrective disclosure, and must have suffered a loss.
         (b)    EZCORP Class A common stock purchased or otherwise acquired from April 30, 2015 through and
    including October 20, 2015, must have suffered a loss.
     62.    To the extent a Claimant does not satisfy one of the conditions set forth in the preceding paragraph, his, her
or its Recognized Loss Amount for those transactions will be zero.
     63.    The entire Net Settlement Fund shall be distributed to members of the Settlement Class, other than the portion
of the Net Settlement Fund that cannot be distributed because of prohibitive administrative costs, which remainder shall
be donated to a non-sectarian, non-profit organization.




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                                        CALCULATION OF RECOGNIZED LOSS AMOUNTS
    64.     Based on the table set forth below, each share of EZCORP Class A common stock purchased or acquired
during the Settlement Class Period, listed in the Proof of Claim Form, and for which adequate documentation is provided
is assigned a “Recognized Loss Amount”. All dates are inclusive.
                               For shares purchased between January 28, 2014 and April 30, 2015
 And sold on or before April 30, 2015                                                 No recognized loss
 And sold between May 1, 2015 and May 20, 2015                                        $0.89 / share
 And sold between May 21, 2015 and July 16, 2015                                      $1.54 / share
 And sold between July 17, 2015 and October 19, 2015                                  $1.67 / share
 And sold on or after October 20, 2015 (or still held)                                $1.88 / share
                                  For shares purchased between May 1, 2015 and May 20, 2015
 And sold on or before May 20, 2015                                                   No recognized loss
 And sold between May 21, 2015 and July 16, 2015                                      $0.65 / share
 And sold between July 17, 2015 and October 19, 2015                                  $0.78 / share
 And sold on or after October 20, 2015 (or still held)                                $0.99 / share
                                  For shares purchased between May 21, 2015 and July 16, 2015
 And sold on or before July 16, 2015                                                  No recognized loss
 And sold between July 17, 2015 and October 19, 2015                                  $0.07 / share
 And sold on or after October 20, 2015 (or still held)                                $0.17 / share
                               For shares purchased between July 17, 2015 and October 19, 2015
 And sold on or before October 19, 2015                                               No recognized loss
 And sold on or after October 20, 2015 (or still held)                                $0.10 / share

                                                    ADDITIONAL PROVISIONS
    65.      The Net Settlement Fund will be allocated among all Authorized Claimants whose Distribution Amount
(defined in paragraph 68 below) is $10.00 or greater.
    66.      If a Settlement Class Member has more than one purchase/acquisition or sale of EZCORP Class A common
stock, all purchases/acquisitions and sales of the like security shall be matched on a First In, First Out (“FIFO”) basis.
Settlement Class Period sales will be matched first against any holdings at the beginning of the Settlement Class Period,
and then against purchases/acquisitions in chronological order, beginning with the earliest purchase/acquisition made
during the Settlement Class Period.
   67.    A Claimant’s “Recognized Claim” under the Plan of Allocation shall be the sum of his, her or its Recognized
Loss Amounts for all of the shares of EZCORP Class A common stock.
    68.      The Net Settlement Fund will be distributed to Authorized Claimants on a pro rata basis based on the relative
size of their Recognized Claims. Specifically, a “Distribution Amount” will be calculated for each Authorized Claimant,
which shall be the Authorized Claimant’s Recognized Claim divided by the total Recognized Claims of all Authorized
Claimants, multiplied by the total amount in the Net Settlement Fund. If any Authorized Claimant’s Distribution Amount
calculates to less than $10.00, it will not be included in the calculation and no distribution will be made to such
Authorized Claimant.
    69.      Purchases or acquisitions and sales of EZCORP Class A common stock shall be deemed to have occurred
on the “contract” or “trade” date as opposed to the “settlement” or “payment” date. The receipt or grant by gift, inheritance
or operation of law of EZCORP Class A common stock during the Settlement Class Period shall not be deemed a
purchase, acquisition or sale of EZCORP Class A common stock for the calculation of an Authorized Claimant’s
Recognized Loss Amount, nor shall the receipt or grant be deemed an assignment of any claim relating to the
purchase/acquisition of any EZCORP Class A common stock unless (i) the donor or decedent purchased or otherwise
acquired such EZCORP Class A common stock during the Settlement Class Period; (ii) no Claim Form was submitted by
or on behalf of the donor, on behalf of the decedent, or by anyone else with respect to such EZCORP Class A common
stock; and (iii) it is specifically so provided in the instrument of gift or assignment.




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    70.     The date of covering a “short sale” is deemed to be the date of purchase or acquisition of the EZCORP Class
A common stock share(s). The date of a “short sale” is deemed to be the date of sale of the EZCORP Class A common
stock share(s). Under the Plan of Allocation, however, the Recognized Loss Amount on “short sales” is zero. In the event
that a Claimant has an opening short position in EZCORP Class A common stock, the earliest Settlement Class Period
purchases or acquisitions of that security shall be matched against such opening short position, and not be entitled to a
recovery, until that short position is fully covered.
    71.     Option contracts are not securities eligible to participate in the Settlement. With respect to EZCORP Class
A common stock purchased or sold through the exercise of an option, the purchase/sale date of the EZCORP Class A
common stock is the exercise date of the option and the purchase/sale price of the EZCORP Class A common stock is
the exercise price of the option.
    72.      To the extent a Claimant had a market gain with respect to his, her, or its overall transactions in EZCORP
Class A common stock during the Settlement Class Period, the value of the Claimant’s Recognized Claim shall be zero.
Such Claimants shall in any event be bound by the Settlement. To the extent that a Claimant suffered an overall market
loss with respect to his, her, or its overall transactions in EZCORP Class A common stock during the Settlement Class
Period, but that market loss was less than the total Recognized Claim calculated above, then the Claimant’s Recognized
Claim shall be limited to the amount of the actual market loss.
     73.       For purposes of determining whether a Claimant had a market gain with respect to his, her, or its overall
transactions in EZCORP Class A common stock during the Settlement Class Period or suffered a market loss, the Claims
Administrator shall determine the difference between (i) the Total Purchase Amount 2 and (ii) the sum of the Total Sales
Proceeds 3 and Total Holding Value. 4 This difference shall be deemed a Claimant’s market gain or loss with respect to
his, her, or its overall transactions in EZCORP Class A common stock during the Settlement Class Period.
     74.      After the initial distribution of the Net Settlement Fund, the Claims Administrator shall make reasonable and
diligent efforts to have Authorized Claimants cash their distribution checks. To the extent any monies remain in the fund
nine (9) months after the initial distribution, if Class Counsel, in consultation with the Claims Administrator, determines
that it is cost-effective to do so, the Claims Administrator shall conduct a re-distribution of the funds remaining after
payment of any unpaid fees and expenses incurred in administering the Settlement, including for such re-distribution, to
Authorized Claimants who have cashed their initial distributions and who would receive at least $10.00 from such re-
distribution. Additional re-distributions to Authorized Claimants who have cashed their prior checks and who would
receive at least $10.00 on such additional re-distributions may occur thereafter if Class Counsel, in consultation with the
Claims Administrator, determines that additional re-distributions, after the deduction of any additional fees and expenses
incurred in administering the Settlement, including for such re-distributions, would be cost-effective. At such time as it is
determined that the re-distribution of funds remaining in the Net Settlement Fund is not cost-effective, the remaining
balance shall be contributed to non-sectarian, not-for-profit organization(s), to be recommended by Class Counsel and
approved by the Court.
     75.     Payment pursuant to the Plan of Allocation, or such other plan of allocation as may be approved by the Court,
shall be conclusive against all Authorized Claimants. No person shall have any claim against Lead Plaintiff, Plaintiff’s
Counsel, Lead Plaintiff’s damages expert, Defendants, Defendants’ Counsel, or any of the other Releasees, or the Claims
Administrator or other agent designated by Class Counsel arising from distributions made substantially in accordance
with the Stipulation, the plan of allocation approved by the Court, or further Orders of the Court. Lead Plaintiff, Defendants
and their respective counsel, and all other Defendants’ Releasees, shall have no responsibility or liability whatsoever for
the investment or distribution of the Settlement Fund, the Net Settlement Fund, the plan of allocation, or the determination,
administration, calculation, or payment of any Claim Form or nonperformance of the Claims Administrator, the payment
or withholding of taxes owed by the Settlement Fund, or any losses incurred in connection therewith.
    76.        The Plan of Allocation set forth herein is the plan that is being proposed to the Court for its approval by Lead
Plaintiff after consultation with their damages expert. The Court may approve this plan as proposed or it may modify the
Plan of Allocation without further notice to the Settlement Class. Any Orders regarding any modification of the Plan of
Allocation will be posted on the Settlement website, www.EZCORPsettlement.com.




2 The “Total Purchase Amount” is the total amount the Claimant paid (excluding commissions and other charges) for all EZCORP Class

A common stock purchased or acquired during the Settlement Class Period.
3 The Claims Administrator shall match any sales of EZCORP Class A common stock during the Settlement Class Period, first against

the Claimant’s opening position in the like security (the proceeds of those sales will not be considered for purposes of calculating
market gains or losses). The total amount received (excluding commissions and other charges) for the remaining sales of EZCORP
Class A common stock sold during the Settlement Class Period shall be the “Total Sales Proceeds.”
4 The Claims Administrator shall ascribe a holding value to EZCORP Class A common stock purchased or acquired during the

Settlement Class Period and still held as of the close of trading on October 20, 2015, which shall be $6.32 per share.

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               WHAT PAYMENT ARE THE ATTORNEYS FOR THE SETTLEMENT CLASS SEEKING?
                                 HOW WILL THE LAWYERS BE PAID?
     77.     Plaintiff’s Counsel have not received any payment for their services in pursuing claims against the Defendants
on behalf of the Settlement Class, nor have Plaintiff’s Counsel been reimbursed for their out-of-pocket expenses. Before
final approval of the Settlement, Class Counsel will apply to the Court for an award of attorneys’ fees for all Plaintiff’s
Counsel in an amount not to exceed one-third of the Settlement Fund. At the same time, Class Counsel also intends to
apply for reimbursement of Litigation Expenses in an amount not to exceed $300,000, which may include an application
for reimbursement of the reasonable costs and expenses incurred by Lead Plaintiff directly related to their representation
of the Settlement Class. The Court will determine the amount of any award of attorneys’ fees or reimbursement of
Litigation Expenses. Such sums as may be approved by the Court will be paid from the Settlement Fund. Settlement
Class Members are not personally liable for any such fees or expenses.
                    WHAT IF I DO NOT WANT TO BE A MEMBER OF THE SETTLEMENT CLASS?
                                       HOW DO I EXCLUDE MYSELF?
     78.      Each Settlement Class Member will be bound by all determinations and judgments in this lawsuit, whether
favorable or unfavorable, unless such person or entity mails or delivers a written Request for Exclusion from the
Settlement Class, addressed to In re EZCORP, Inc. Securities Litigation, EXCLUSIONS, c/o KCC Class Action Services,
3301 Kerner Blvd, San Rafael, CA 94901. The exclusion request must be received no later than November 15, 2019.
You will not be able to exclude yourself from the Settlement Class after that date. Each Request for Exclusion must:
(a) state the name, address and telephone number of the person or entity requesting exclusion, and in the case of entities
the name and telephone number of the appropriate contact person; (b) state that such person or entity “requests exclusion
from the Settlement Class in In re EZCORP, Inc. Securities Litigation, Lead Case No. 1:15-CV-00608”; (c) identify and
state the number of shares of EZCORP Class A common stock that the person or entity requesting exclusion
purchased/acquired and/or sold during the Settlement Class Period (i.e., between January 28, 2014 and
October 20, 2015, inclusive), as well as the dates and prices of each such purchase/acquisition and sale; and
(d) be signed by the person or entity requesting exclusion or an authorized representative. A Request for Exclusion shall
not be valid and effective unless it provides all the information called for in this paragraph and is received within the time
stated above, or is otherwise accepted by the Court.
    79.     If you do not want to be part of the Settlement Class, you must follow these instructions for exclusion even if
you have pending, or later file, another lawsuit, arbitration, or other proceeding relating to any Released Plaintiff’s Claim
against any of the Defendants’ Releasees.
    80.    If you ask to be excluded from the Settlement Class, you will not be eligible to receive any payment out of the
Net Settlement Fund.
    81.       Defendants have the right to terminate the Settlement if valid requests for exclusion are received from persons
and entities entitled to be members of the Settlement Class in an amount that exceeds an amount agreed to by Lead
Plaintiff and Defendants.
                   WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
                           SETTLEMENT? DO I HAVE TO COME TO THE HEARING?
                      MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE SETTLEMENT?
    82.    Settlement Class Members do not need to attend the Settlement Hearing. The Court will consider any
submission made in accordance with the provisions below even if a Settlement Class Member does not attend
the hearing. You can participate in the Settlement without attending the Settlement Hearing.
     83.     The Settlement Hearing will be held on December 6, 2019, at 10:00 a.m., before the Honorable Sam Sparks
at the United States District Court for the Western District of Texas, United States Courthouse, 501 West 5th Street,
Suite 4120, Austin, TX 78701. The Court reserves the right to approve the Settlement, the Plan of Allocation, Class
Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses and/or any other matter
related to the Settlement at or after the Settlement Hearing without further notice to the members of the Settlement Class.
     84.    Any Settlement Class Member who or which does not request exclusion may object to the Settlement, the
proposed Plan of Allocation or Class Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation
Expenses. Objections must be in writing. You must file any written objection, together with copies of all other papers and
briefs supporting the objection, with the Clerk’s Office at the United States District Court for the Western District of Texas at
the address set forth below on or before November 15, 2019. You must also serve the papers on Class Counsel and on
Defendants’ Counsel at the addresses set forth below so that the papers are received on or before November 15, 2019.




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 Clerk’s Office                           Class Counsel                           Defendants’ Counsel
 United States District Court             Block & Leviton LLP                      Vinson & Elkins LLP
 Western District of Texas                Jacob A. Walker, Esq.                    Attn: Jennifer B. Poppe, Esq.
 Clerk of the Court                       260 Franklin Street, Suite 1860          2801 Via Fortuna, Suite 100
 United States Courthouse                 Boston, MA 02110                         Austin, TX 78746
 501 West 5th Street, Suite 1100
                                          Glancy Prongay & Murray LLP              Ewell, Brown, Blanke & Knight LLP
 Austin, TX 78701
                                          Casey E. Sadler, Esq.                    Attn: Gary Ewell, Esq.
                                          1925 Century Park East, Suite 2100       111 Congress Avenue, Suite 2800
                                          Los Angeles, CA 90067                    Austin, TX 78701
     85.     Any objection: (a) must state the name, address and telephone number of the person or entity objecting and
must be signed by the objector; (b) must contain a statement of the Settlement Class Member’s objection or objections,
and the specific reasons for each objection, including any legal and evidentiary support the Settlement Class Member
wishes to bring to the Court’s attention; and (c) must include documents sufficient to prove membership in the Settlement
Class, including the number of shares of EZCORP Class A common stock that the objecting Settlement Class Member
purchased/acquired and/or sold during the Settlement Class Period (i.e., between January 28, 2014 and
October 20, 2015, inclusive), as well as the dates and prices of each such purchase/acquisition and sale. You may not
object to the Settlement, the Plan of Allocation or Class Counsel’s motion for attorneys’ fees and reimbursement of
Litigation Expenses if you exclude yourself from the Settlement Class or if you are not a member of the Settlement Class.
    86.     You may file a written objection without having to appear at the Settlement Hearing. You may not, however,
appear at the Settlement Hearing to present your objection unless you first file and serve a written objection in accordance
with the procedures described above, unless the Court orders otherwise.
     87.       If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the Plan of
Allocation or Class Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses, and if
you timely file and serve a written objection as described above, you must also file a notice of appearance with the Clerk’s
Office and serve it on Class Counsel and Defendants’ Counsel at the addresses set forth above so that it is
received on or before November 15, 2019. Persons who intend to object and desire to present evidence at the
Settlement Hearing must include in their written objection or notice of appearance the identity of any witnesses they may
call to testify and exhibits they intend to introduce into evidence at the hearing. Such persons may be heard orally at the
discretion of the Court.
     88.     You are not required to hire an attorney to represent you in making written objections or in appearing at the
Settlement Hearing. However, if you decide to hire an attorney, it will be at your own expense, and that attorney must file
a notice of appearance with the Court and serve it on Class Counsel and Defendants’ Counsel at the addresses set forth
in ¶ 84 above so that the notice is received on or November 15, 2019.
     89.     The Settlement Hearing may be adjourned by the Court without further written notice to the Settlement Class.
If you intend to attend the Settlement Hearing, you should confirm the date and time with Class Counsel.
    90.      Unless the Court orders otherwise, any Settlement Class Member who does not object in the manner
described above will be deemed to have waived any objection and shall be forever foreclosed from making any
objection to the proposed Settlement, the proposed Plan of Allocation or Class Counsel’s motion for an award
of attorneys’ fees and reimbursement of Litigation Expenses. Settlement Class Members do not need to appear
at the Settlement Hearing or take any other action to indicate their approval.
                           WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?
     91.     If you purchased or otherwise acquired any EZCORP Class A common stock between January 28, 2014 and
October 20, 2015, inclusive, for the beneficial interest of persons or organizations other than yourself, you must either:
(a) within seven (7) calendar days of receipt of the Postcard Notice, request from the Claims Administrator sufficient
copies of the Postcard Notice to forward to all such beneficial owners and within seven (7) calendar days of receipt of
those Postcard Notices forward them to all such beneficial owners; or (b) within seven (7) calendar days of receipt of the
Postcard Notice, provide a list of the names and addresses of all such beneficial owners to
Nominees@EZCORPsettlement.com, or via mail to In re EZCORP, Inc. Securities Litigation, c/o KCC Class Action
Services, Nominees, 3301 Kerner Blvd, San Rafael, CA 94901. If you choose the second option, the Claims Administrator
will send a copy of the Postcard Notice to the beneficial owners. Upon full compliance with these directions, such
nominees may seek reimbursement of their reasonable expenses actually incurred, up to a maximum of $0.10 per notice,
plus actual cost of postage, by providing the Claims Administrator with proper documentation supporting the expenses
for which reimbursement is sought. Any dispute concerning the reasonableness of reimbursement costs shall be resolved
by the Court. Copies of this Notice and the Claim Form may be obtained from the website maintained by the Claims
Administrator, www.EZCORPsettlement.com, or by calling the Claims Administrator toll-free at 1-877-295-8619.


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               CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?
    92.       This Notice contains only a summary of the terms of the proposed Settlement. For more detailed information
about the matters involved in this Action, you are referred to the papers on file in the Action, including the Stipulation,
which may be inspected during regular office hours at the Office of the Clerk, United States District Court for the Western
District of Texas, United States Courthouse, 501 West 5th Street, Suite 1100, Austin, TX 78701. Additionally, copies of
the Stipulation and any related orders entered by the Court will be posted on the website maintained by the Claims
Administrator, www.EZCORPsettlement.com.
   All inquiries concerning this Notice and the Claim Form should be directed to the Claims Administrator or Class
Counsel at:
           In re EZCORP, Inc. Securities Litigation       and/or                Block & Leviton LLP
                c/o KCC Class Action Services                                Attn: Jacob A. Walker, Esq.
                       P.O. Box 43046                                       260 Franklin Street, Suite 1860
                  Providence, RI 02940-3046                                       Boston, MA 02110
                       1-877-295-8619                                        Telephone: (617) 398-5617
                www.EZCORPsettlement.com                                      Email: jake@blockesq.com
                                                                          Glancy Prongay & Murray LLP
                                                                            Attn: Casey E. Sadler, Esq.
                                                                         1925 Century Park East, Suite 2100
                                                                               Los Angeles, CA 90067
                                                                            Telephone: (310) 201-9150
                                                                         Email: settlements@glancylaw.com
DO NOT CALL OR WRITE THE COURT, THE OFFICE OF THE CLERK OF THE COURT, DEFENDANTS OR THEIR
COUNSEL REGARDING THIS NOTICE.


Dated: August 5, 2019                                                                      By Order of the Court
                                                                                           United States District Court
                                                                                           Western District of Texas




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                            In re EZCORP, INC. SECURITIES LITIGATION
                                   c/o KCC Class Action Services
                                            P.O. Box 43046
                                      Providence, RI 02940-3046
                                  Toll-Free Number: 1-877-295-8619
                                 Email: Info@EZCORPsettlement.com
                          Settlement Website: www.EZCORPsettlement.com

                                PROOF OF CLAIM AND RELEASE FORM

To be eligible to receive a share of the Net Settlement Fund in connection with the Settlement of this Action,
you must complete and sign this Proof of Claim and Release Form (“Claim Form”) and mail it by first-class
mail to the above address, postmarked no later than January 25, 2020, or email it to the Claims
Administrator at the above email address no later than January 25, 2020.

Failure to submit your Claim Form by the date specified will subject your claim to rejection and may preclude
you from being eligible to receive any money in connection with the Settlement.

Do not mail or deliver your Claim Form to the Court, the parties to the Action, or their counsel.
Submit your Claim Form only to the Claims Administrator at the address set forth above.

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                                  PART I – GENERAL INSTRUCTIONS

         1.        It is important that you completely read and understand the Notice of (I) Pendency of Class
Action and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of
Attorneys’ Fees and Reimbursement of Litigation Expenses (the “Notice”) that accompanies this Claim
Form, including the Plan of Allocation of the Net Settlement Fund set forth in the Notice. The Notice
describes the proposed Settlement, how Settlement Class Members are affected by the Settlement, and
the manner in which the Net Settlement Fund will be distributed if the Settlement and Plan of Allocation are
approved by the Court. The Notice also contains the definitions of many of the defined terms (which are
indicated by initial capital letters) used in this Claim Form. By signing and submitting this Claim Form, you
will be certifying that you have read and that you understand the Notice, including the terms of the releases
described therein and provided for herein.

         2.       By submitting this Claim Form, you will be making a request to share in the proceeds of
the Settlement described in the Notice. IF YOU ARE NOT A SETTLEMENT CLASS MEMBER (see the
definition of the Settlement Class in paragraph 33 of the Notice, which sets forth who is included in and who
is excluded from the Settlement Class), OR IF YOU, OR SOMEONE ACTING ON YOUR BEHALF,
SUBMITTED A REQUEST FOR EXCLUSION FROM THE SETTLEMENT CLASS, DO NOT SUBMIT A
CLAIM FORM. YOU MAY NOT, DIRECTLY OR INDIRECTLY, PARTICIPATE IN THE SETTLEMENT IF
YOU ARE NOT A SETTLEMENT CLASS MEMBER. THUS, IF YOU ARE EXCLUDED FROM THE
SETTLEMENT CLASS, ANY CLAIM FORM THAT YOU SUBMIT, OR THAT MAY BE SUBMITTED ON
YOUR BEHALF, WILL NOT BE ACCEPTED.

        3.      Submission of this Claim Form does not guarantee that you will share in the
proceeds of the Settlement. The distribution of the Net Settlement Fund will be governed by the
Plan of Allocation set forth in the Notice, if it is approved by the Court, or by such other plan of
allocation as the Court approves.

        4.       Use the Schedule of Transactions in Part III of this Claim Form to supply all required details
of your transaction(s) (including free transfers and deliveries) in and holdings of EZCORP, Inc. Class A
common stock. On this schedule, please provide all of the requested information with respect to your
holdings, purchases, acquisitions, and sales of EZCORP, Inc. Class A common stock, whether such
transactions resulted in a profit or a loss. Failure to report all transaction and holding information
during the requested time period may result in the rejection of your claim.

          5.      You are required to submit genuine and sufficient documentation for all of your transactions
in and holdings of EZCORP, Inc. Class A common stock set forth in the Schedule of Transactions in Part
III of this Claim Form. Documentation may consist of copies of brokerage confirmation slips or monthly
brokerage account statements, or an authorized statement from your broker containing the transactional
and holding information found in a broker confirmation slip or account statement. The Parties and the
Claims Administrator do not independently have information about your investments in EZCORP, Inc. Class
A common stock. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN COPIES
OR EQUIVALENT DOCUMENTS FROM YOUR BROKER.                                FAILURE TO SUPPLY THIS
DOCUMENTATION MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND ORIGINAL
DOCUMENTS. Please keep a copy of all documents that you send to the Claims Administrator.
Also, please do not highlight any portion of the Claim Form or any supporting documents.

         6.     Separate Claim Forms should be submitted for each separate legal entity (e.g., a claim
from joint owners should not include separate transactions of just one of the joint owners, and an individual
should not combine his or her IRA transactions with transactions made solely in the individual’s name).
Conversely, a single Claim Form should be submitted on behalf of one legal entity including all transactions
made by that entity on one Claim Form, no matter how many separate accounts that entity has (e.g., a
corporation with multiple brokerage accounts should include all transactions made in all accounts on one
Claim Form).




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         7.      All joint beneficial owners must each sign this Claim Form and their names must appear
as “Claimants” in Part IV of this Claim Form. If you purchased EZCORP, Inc. Class A common stock during
the Settlement Class Period and held the shares in your name, you are the beneficial owner as well as the
record owner and you must sign this Claim Form to participate in the Settlement. If, however, you
purchased EZCORP, Inc. Class A common stock during the relevant time period and the securities were
registered in the name of a third party, such as a nominee or brokerage firm, you are the beneficial owner
of these shares, but the third party is the record owner. The beneficial owner, not the record owner, must
sign this Claim Form to be eligible to participate in the Settlement.

       8.      Agents, executors, administrators, guardians, and trustees must complete and sign the
Claim Form on behalf of persons represented by them, and they must:

                 (a)     expressly state the capacity in which they are acting;

                 (b)     identify the name, account number, Social Security Number (or taxpayer
                         identification number), address and telephone number of the beneficial owner of
                         (or other person or entity on whose behalf they are acting with respect to) the
                         EZCORP, Inc. Class A common stock; and

                 (c)     furnish herewith evidence of their authority to bind to the Claim Form the person
                         or entity on whose behalf they are acting. (Authority to complete and sign a Claim
                         Form cannot be established by stockbrokers demonstrating only that they have
                         discretionary authority to trade securities in another person’s accounts.)

        9.       By submitting a signed Claim Form, you will be swearing that you:

                 (a)     own(ed) the EZCORP, Inc. Class A common stock you have listed in the Claim
                         Form; or

                 (b)     are expressly authorized to act on behalf of the owner thereof.

           10.     By submitting a signed Claim Form, you will be swearing to the truth of the statements
contained therein and the genuineness of the documents attached thereto, subject to penalties of perjury
under the laws of the United States of America. The making of false statements, or the submission of
forged or fraudulent documentation, will result in the rejection of your claim and may subject you to civil
liability or criminal prosecution.

        11.      If the Court approves the Settlement, payments to eligible Authorized Claimants pursuant
to the Plan of Allocation (or such other plan of allocation as the Court approves) will be made after any
appeals are resolved, and after the completion of all claims processing. The claims process will take
substantial time to complete fully and fairly. Please be patient.

        12.      PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall
receive his, her or its pro rata share of the Net Settlement Fund. If the prorated payment to any Authorized
Claimant calculates to less than $10.00, it will not be included in the calculation and no distribution will be
made to that Authorized Claimant.

         13.     If you have questions concerning the Claim Form, or need additional copies of the Claim
Form or the Notice, you may contact the Claims Administrator, KCC Class Action Services, at the above
address, by email at Info@EZCORPsettlement.com, or by toll-free phone at 1-877-295-8619, or you can
visit the Settlement website, www.EZCORPsettlement.com, where copies of the Claim Form and Notice
are available for downloading.




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         14.       NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of
transactions may request, or may be requested, to submit information regarding their transactions in electronic
files. To obtain the mandatory electronic filing requirements and file layout, you may visit the Settlement website
at www.EZCORPsettlement.com or you may email the Claims Administrator’s electronic filing department at
Nominees@EZCORPsettlement.com. Any file not in accordance with the required electronic filing format will
be subject to rejection. No electronic files will be considered to have been properly submitted unless the Claims
Administrator issues an email to that effect after processing your file with your claim numbers and respective
account information. Do not assume that your file has been received or processed until you receive this
email. If you do not receive such an email within 10 days of your submission, you should contact the
electronic filing department at Nominees@EZCORPsettlement.com to inquire about your file and
confirm it was received and acceptable.

                                        IMPORTANT: PLEASE NOTE

YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT POSTCARD.
THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY MAIL,
WITHIN 60 DAYS. IF YOU DO NOT RECEIVE AN ACKNOWLEDGEMENT POSTCARD WITHIN
60 DAYS, PLEASE CALL THE CLAIMS ADMINISTRATOR TOLL-FREE AT 1-877-295-8619.




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                                                                                                                       Must Be Postmarked or Received
                                                                                                                       No Later Than January 25, 2020

                      Official                             UNITED STATES DISTRICT COURT

                                                                                                                                     EIL
                      Office                                WESTERN DISTRICT OF TEXAS
                       Use                                        AUSTIN DIVISION
                       Only                       In re EZCORP, INC. SECURITIES LITIGATION
                                                            Lead Case No. 1:15-CV-00608-SS
                                                           PROOF OF CLAIM AND RELEASE
                                                          Please Type or Print in the Boxes Below
                                                          Do NOT use Red Ink, Pencil, or Staples

                                                          PART II: CLAIMANT IDENTIFICATION
 The Claims Administrator will use this information for all communications regarding this Claim Form. If this information changes, you MUST
 notify the Claims Administrator in writing at the address above.
 Claimant Name(s) (as the name(s) should appear on check, if eligible for payment; if the shares are jointly owned, the names of all beneficial
 owners must be provided)
 Last Name                                                                                M.I.          First Name


 Last Name (Co-Beneficial Owner)                                                           M.I.         First Name (Co-Beneficial Owner)



 Name of Person the Claims Administrator Should Contact Regarding this Claim Form (Must Be Provided)
 Last Name                                                                                M.I.          First Name




 Last Four Digits of Claimant Social Security Number             or      Taxpayer Identification Number1
                                                                                     —
 Daytime Telephone Number                                             Evening Telephone Number
                  —                    —                                              —                      —
 Email Address (E-mail address is not required, but if you provide it you authorize the Claims Administrator to use it in providing you with
 information relevant to this claim.)


 ¹The last four digits of the taxpayer identification number (TIN), consisting of a valid Social Security Number (SSN) for individuals or Employer Identification
 Number (EIN) for business entities, trusts, estates, etc., and the telephone number of the beneficial owner(s) may be used in verifying this claim.


                                                                MAILING INFORMATION
Mailing Address – Line 1: Street Address/P.O. Box


Mailing Address – Line 2 (If Applicable): Apartment/Suite/Floor Number


City                                                                                            State          Zip Code


Foreign Province                                                 Foreign Postal Code                                 Foreign Country Name/Abbreviation




                                                    ATP          BE           FL           OP

                                                                                                                 /            /
FOR CLAIMS                                                                                                                                             FOR CLAIMS
PROCESSING   OB                CB                   KE           DR           ME           RE                                                          PROCESSING
ONLY                                                ICI          EM           ND           SH                                                          ONLY




       *EILFIVE*                                                                5
                    CaseIII.1:15-cv-00608-SS
                   PART                      Document 144-1
                              SCHEDULE OF TRANSACTIONS        Filed
                                                       IN EZCORP,   11/01/19
                                                                  INC. CLASS A Page 28 of
                                                                               COMMON     121
                                                                                       STOCK

Please be sure to include proper documentation with your Claim Form as described in detail in Part I – General Instructions,
Paragraph 5, above. Do not include information regarding securities other than EZCORP, Inc. Class A common stock.
1. HOLDINGS AS OF JANUARY 28, 2014 -                                                                                   Proof Enclosed?
   State the total number of shares of EZCORP, Inc. Class A common                                                         Y       N
   stock held as of the opening of trading on January 28, 2014.
   (Must be documented.) If none, write “zero” or “0.”
2. PURCHASES/ACQUISITIONS BETWEEN JANUARY 28, 2014 AND OCTOBER 20, 2015 - Separately list each and every
   purchase/acquisition (including free receipts) of EZCORP, Inc. Class A common stock from after the opening of trading on
   January 28, 2014 through and including the close of trading on October 20, 2015. (Must be documented.)
        PURCHASES
                                                                                  Total Purchase/Acquisition
                                                                                    Price (excluding taxes,
                                                                                   commissions, and fees).       Proof of
        Date of Purchase/ Acquisition              Number of Shares                 Please round off to the     Purchase
            (List Chronologically)                Purchased/Acquired                 nearest whole dollar      Enclosed?
       M   M       D     D       Y   Y   Y   Y

               /             /                                                                                               . 00
                                                                                                                                            Y
  1.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  2.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  3.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  4.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  5.                                                                                 $                                                      N
 3. SALES/DISPOSITIONS BETWEEN JANUARY 28, 2014 AND OCTOBER 20, 2015 - Separately list each and every sale/
    disposition (including gift) of EZCORP, Inc. Class A common stock from after the opening of trading on January 28, 2014
    through and including the close of trading on October 20, 2015. (Must be documented.)
         SALES
                                                                                       Total Sales Price
                                                                                  (Excluding Commissions,
                                                                                       Taxes and Fees).          Proof of
           Trade Date(s) of Shares                     Number of                      Please round off to         Sales
             (List Chronologically)                   Shares Sold                  the nearest whole dollar     Enclosed?
       M   M       D    D        Y   Y   Y   Y

               /             /                                                                                               . 00
                                                                                                                                            Y
  1.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  2.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  3.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  4.                                                                                 $                                                      N

               /             /                                                                                               . 00
                                                                                                                                            Y
  5.                                                                                 $                                                      N

4. HOLDINGS AS OF OCTOBER 20, 2015 -                                                                                   Proof Enclosed?
   State the total number of shares of EZCORP, Inc. Class A common                                                         Y       N
   stock held as of the close of trading on October 20, 2015.
   (Must be documented.) If none, write “zero” or “0.”
   If you require additional space, attach extra schedules in the same format as above. Sign and print your name on each additional page.
                       YOU MUST READ AND SIGN THE RELEASE ON PAGES 7-8. FAILURE TO SIGN THE RELEASE
                            MAY RESULT IN A DELAY IN PROCESSING OR THE REJECTION OF YOUR CLAIM.


       *EILSIX*                                                      6
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                                        PART IV - RELEASE OF CLAIMS AND SIGNATURE
 YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW AND SIGN ON PAGES 7-8 OF THIS CLAIM FORM.
I (we) hereby acknowledge that, pursuant to the terms set forth in the Stipulation, without further action by anyone, upon the
Effective Date of the Settlement, I (we), on behalf of myself (ourselves), and my (our) heirs, executors, administrators, predecessors,
successors, and assigns, in their capacities as such, shall be deemed to have, and by operation of law and of the judgment shall
have, fully, finally, and forever compromised, settled, released, resolved, relinquished, waived and discharged each and every
Released Plaintiff’s Claims (including, without limitation, any Unknown Claims) against the Defendants and the other Defendants’
Releasees, and shall forever be barred and enjoined from prosecuting any or all of the Released Plaintiff’s Claims against any of
the Defendants’ Releasees.
                                                           CERTIFICATION
By signing and submitting this Claim Form, the claimant(s) or the person(s) who represent(s) the claimant(s) agree(s) to the release
above and certifies (certify) as follows:
    1. that I (we) have read and understand the contents of the Notice and this Claim Form, including the releases provided for in
the Settlement and the terms of the Plan of Allocation;
    2. that the claimant(s) is a (are) Settlement Class Member(s), as defined in the Notice, and is (are) not excluded by definition
from the Settlement Class as set forth in the Notice;
    3. that the claimant has not submitted a request for exclusion from the Settlement Class;
    4. that I (we) own(ed) the EZCORP, Inc. Class A common stock identified in the Claim Form and have not assigned the claim
against any of the Defendants or any of the other Defendants’ Releasees to another, or that, in signing and submitting this Claim
Form, I (we) have the authority to act on behalf of the owner(s) thereof;
   5. that the claimant(s) has (have) not submitted any other claim covering the same purchases of EZCORP, Inc. Class A
common stock and knows (know) of no other person having done so on the claimant’s (claimants’) behalf;
    6. that the claimant(s) submit(s) to the jurisdiction of the Court with respect to claimant’s (claimants’) claim and for purposes of
enforcing the releases set forth herein;
   7. that I (we) agree to furnish such additional information with respect to this Claim Form as Class Counsel, the Claims
Administrator or the Court may require;
     8. that the claimant(s) waive(s) the right to trial by jury, to the extent it exists, and agree(s) to the Court’s summary disposition
of the determination of the validity or amount of the claim made by this Claim Form;
    9. that I (we) acknowledge that the claimant(s) will be bound by and subject to the terms of any judgment(s) that may be
entered in the Action; and
     10. that the claimant(s) is (are) NOT subject to backup withholding under the provisions of Section 3406(a)(1)(C) of the Internal
Revenue Code because (a) the claimant(s) is (are) exempt from backup withholding or (b) the claimant(s) has (have) not been
notified by the IRS that he/she/it is subject to backup withholding as a result of a failure to report all interest or dividends or
(c) the IRS has notified the claimant(s) that he/she/it is no longer subject to backup withholding. If the IRS has notified the
claimant(s) that he/she/it is subject to backup withholding, please strike out the language in the preceding sentence
indicating that the claim is not subject to backup withholding in the certification above.
UNDER THE PENALTIES OF PERJURY, I (WE) CERTIFY THAT ALL OF THE INFORMATION PROVIDED BY ME (US) ON THIS
CLAIM FORM IS TRUE, CORRECT, AND COMPLETE, AND THAT THE DOCUMENTS SUBMITTED HEREWITH ARE TRUE AND
CORRECT COPIES OF WHAT THEY PURPORT TO BE.


Signature of claimant                                                                 Dated (mm/dd/yyyy)


Print your name here



Signature of joint claimant, if any                                                   Dated (mm/dd/yyyy)


Print your name here



      *EILSEVEN*                                                    7
                    Case 1:15-cv-00608-SS Document 144-1 Filed 11/01/19 Page 30 of 121

If the claimant is other than an individual, or is not the person completing this form, the following also must be provided:



Signature of person signing on behalf of claimant                                    Dated (mm/dd/yyyy)


Print your name here

                        ACCURATE CLAIMS PROCESSING TAKES A SIGNIFICANT AMOUNT OF TIME.
                                        THANK YOU FOR YOUR PATIENCE.
Reminder Checklist:
1. Please sign the above release and certification. If this            6. If your address changes in the future, or if this Claim Form
   Claim Form is being made on behalf of joint claimants,                 was sent to an old or incorrect address, please send
   then both must sign.                                                   the Claims Administrator written notification of your new
2. Remember to attach only copies of acceptable                           address. If you change your name, please inform the
   supporting documentation as these documents will not                   Claims Administrator.
   be returned to you.                                                 7. If you have any questions or concerns regarding your
3. Please do not highlight any portion of the Claim Form or               claim, please contact the Claims Administrator at the
   any supporting documents.                                              address below, by email at Info@EZCORPsettlement.com,
                                                                          or by toll-free phone at 1-877-295-8619, or you may visit
4. Keep copies of the completed Claim Form and                            www.EZCORPsettlement.com.         Please DO NOT call
   documentation for your own records.                                    EZCORP, Inc. or any other Defendant or their counsel with
5. The Claims Administrator will acknowledge receipt of                   questions regarding your claim.
   your Claim Form by mail, within 60 days. Your claim is
   not deemed filed until you receive an acknowledgement
   postcard. If you do not receive an acknowledgement
   postcard within 60 days, please call the Claims
   Administrator toll-free at 1-877-295-8619.

   THIS CLAIM FORM MUST BE MAILED, OR EMAILED, TO THE CLAIMS ADMINISTRATOR BY FIRST-CLASS MAIL,
                POSTMARKED NO LATER THAN JANUARY 25, 2020, ADDRESSED AS FOLLOWS:
                                           In re EZCORP, INC. SECURITIES LITIGATION
                                                   c/o KCC Class Action Services
                                                           P.O. Box 43046
                                                     Providence, RI 02940-3046
                                                          1-877-295-8619
                                                   www.EZCORPsettlement.com
A Claim Form received by the Claims Administrator shall be deemed to have been submitted when posted, if a postmark date
on or before January 25, 2020 is indicated on the envelope and it is mailed First Class, and addressed in accordance with the
above instructions. In all other cases, a Claim Form shall be deemed to have been submitted when actually received by the
Claims Administrator.
You should be aware that it will take a significant amount of time to fully process all of the Claim Forms. Please be patient and notify
the Claims Administrator of any change of address.




      *EILEIGHT*                                                   8
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          Exhibit B
Case 1:15-cv-00608-SS Document 144-1 Filed 11/01/19 Page 32 Bof1 12
   INVESTOR'S BUSINESS DAILY                                                                                                                                                                                                                                                    WEEK OF SEPTEMBER 9, 2019




                                                                                                                                                1 PagSeguro Digital (PAGS)        Grp 24        $51.67  Kirkland Lake Gold (KL)       Grp 3          $47.34  Universal Display (OLED)     Grp 85      o$224.75
                                                                                                                                                   160.6M Shares 99 Comp. Rating 99 EPS RS 99 ROE 29% 2 201.3M Shares 99 Comp. Rating 99 EPS RS 98 ROE 15% 3 41.9M Shares 97 Comp. Rating 98 EPS RS 98 ROE 9%
                                                                                                                                                Brazil-based company provides payment technology solutions to       Canadian firm engaged in the provision of mining and mineral         Designs organic light emitting diode devices for flat panel dis-
                                                                                                                                                small and mid-sized enterprises.                                    exploration in Canada and Australia.                                 plays used in the consumer electronics market.
                                                                                                                                                +176% Ann. EPS Gro PE 50 Avg. D. Vol 2,184,900 Debt 0%              +127% Ann. EPS Gro PE 26 Avg. D. Vol 1,516,600 Debt 2%               +27% Ann. EPS Gro PE 91 Avg. Daily Vol 614,800 Debt 0%
                                                                                                                                                Last Qtr Eps +33%6 Prior Qtr +35%6 Last Qtr Sales +39%              Last Qtr Eps +67%6 Prior Qtr +112%5 Last Qtr Sales +31%              Last Qtr Eps +300%6 Prior Qtr +408%5 Last Qtr Sales+110%
                                                                                                                                                13 Qtrs EPS ) 15%                                                   10 Qtrs EPS ) 15%                                                    2 Qtrs EPS ) 15%
                                                                                                                                                Eps Due 11/30e                                                      Eps Due 10/30e                                                       Eps Due 10/30
                                                                                                                                                                                                                    R&D 6%                                                               R&D 22%
                                                                                                                                                                                            Acc/Dis B+                                                        Acc/Dis B                                                           Acc/Dis B-
                                                                                                                                                                                                                                                                                                                            Sup/Demand 83


                                                                                                                                                Near new highs, more than 20% past 31.74 entry: take profit.        Extended from 2nd bounce off 10-week; later-stage breakout.          Buy range above 218.38 buy point runs to 229.30.

                                                                                                                                                4 Paycom  Software (PAYC)       Grp 10      o$249.62  Veeva Systems (VEEV)         Grp 55        o$157.33  Paylocity (PCTY)          Grp 10          o$107.37
                                                                                                                                                   4.7M Shares 99 Comp. Rating 98 EPS RS 97 ROE 51% 5 128.8M Shares 97 Comp. Rating 99 EPS RS 95 ROE 24% 6 30.8M Shares 99 Comp. Rating 99 EPS RS 94 ROE 29%
                                                                                                                                                Provides cloud-based human capital software that manages employ-    Develops cloud-based software for sales/marketing functions of       Cloud-based provider of payroll and human capital management
                                                                                                                                                ment life cycle for employers.                                      companies in the life sciences industry.                             software solutions for medium-sized companies.
   SMARTSELECT ® COMPOSITE RATING                                                                                                            +68% Ann. EPS Gro PE 81 Avg. Daily Vol 582,900 Debt 10%                +48% Ann. EPS Gro PE 81 Avg. D. Vol 1,325,500 Debt 0%                +42% Ann. EPS Gro PE 87 Avg. Daily Vol 420,500 Debt 0%
                                                                                Rel îAnnual Last Qtr NxtQtr Last Qtr         Mgt
                                                                           EPS Strë îEPS Est ïîEPSï EPSîë Salesîë    Pretaxè Own             Last Qtr Eps +27%5 Prior Qtr +25%5 Last Qtr Sales +31%                 Last Qtr Eps +41%6 Prior Qtr +52%6 Last Qtr Sales +27%               Last Qtr Eps +209%5 Prior Qtr +207%5 Last Qtr Sales +25%
    Rank        Company                                 Price     íî
                                                                       6
                                                                           Rtgì Rtg î% Chgî % Chgî % Chgí % Chgî ROE mrgníë    %             21 Qtrs EPS ) 15%                                                      6 Qtrs EPS ) 15%                                                     5 Qtrs EPS ) 15%
                                                   COMPANIES 1-15                                                                            Eps Due 10/28                                                          Eps Due 11/26                                                        Eps Due 10/30
                                                                                                                                             R&D 8%                                                                 R&D 18%                                                              R&D 11%

     1          PagSeguro Digital      51.67 99 99 99 +29 +33 +23 +39 29 ..
                7Brazil company offers small–merchant payment services, like Square.
                                                                                                                                           1                                          Acc/Dis C
                                                                                                                                                                                Sup/Demand 76
                                                                                                                                                                                                                                                            Acc/Dis D+                                                             Acc/Dis C


     2          Kirkland Lake Gold      47.34 99 99 98 +72 +67 +124
                Mines for gold and minerals in sites in Canada and Australia.
                                                                                                                     +31 15 27             4

                                                                                                                                                In buy range from 246.95 buy point; late-stage.                     New flat base forms largely below 10-week line: late stage.          Back near highs after breakout over 103.90 entry failed.
     3          Universal Display          224.8 97 98 98 +119 +300 +19 +110 9 25                                                          4

                                                                                                                                                7 Atlassian (TEAM)           Grp 34           o$132.21  Heico (HEI)             Grp 11             $142.86  Copart (CPRT)             Grp 69             $81.38
                                                                                                                                                   113.5M Shares 99 Comp. Rating 99 EPS RS 94 ROE 29% 8 40.4M Shares 99 Comp. Rating 98 EPS RS 96 ROE 18% 9 192.5M Shares 99 Comp. Rating 98 EPS RS 94 ROE 31%
                Sees rising pipeline of products using organic light–emitting diodes.

     4          Paycom Software        249.6 99 98 97 +26 +27 +29 +31 51 37 10 Australian company that designs and develops software to help
                7One of the fastest–growing cloud–based human resources software firms. teams in management, collaboration, integration.
                                                                                                                                                                                                                    Manufactures jet engine/aircraft component replacement parts and
                                                                                                                                                                                                                    electronic and electro-optical systems.
                                                                                                                                                                                                                                                                                         Conducts salvaged vehicle auctions for insurance companies, chari-
                                                                                                                                                                                                                                                                                         ties, dealerships, banks
                                                                                                                                                +41% Ann. EPS Gro PE 154 Avg. D. Vol 1,277,700 Debt 0%              +21% Ann. EPS Gro PE 68 Avg. Daily Vol 520,100 Debt 38%              +29% Ann. EPS Gro PE 36 Avg. D. Vol 1,205,500 Debt 25%
     5          Veeva Systems        157.3 97 99 95 +29 +41 +20 +27 24 37
                7Cloud computing company serves top pharmaceuticals, biotechs.                   5 Qtrs EPS ) 15%
                                                                                                                                           1 Last Qtr Eps +43%6 Prior Qtr +133%5 Last Qtr Sales +36%                Last Qtr Eps +34%6 Prior Qtr +58%5 Last Qtr Sales +14%
                                                                                                                                                                                                                    3 Qtrs EPS ) 15%
                                                                                                                                                                                                                                                                                         Last Qtr Eps +43%5 Prior Qtr +27%5 Last Qtr Sales +21%
                                                                                                                                                                                                                                                                                         2 Qtrs EPS ) 15%
                                                                                                 Eps Due 10/16                                                                                                      Eps Due 12/16                                                        Eps Due 11/20e
     6          Paylocity                               107.4 99 99 94 +19 +209 +50 +25 29 20 41 R&D 48%
                7Cloud–based model offers payroll, human capital management services.
                                                                                                                                                                                            Acc/Dis C-                                                           Acc/Dis B-                                                             Acc/Dis B

     7          Atlassian             132.2 99 99 94 +18 +43 +20 +36 29 22
                7Team collaboration software innovator shows big annual free cash flow.
                                                                                                                                           3



     8          Heico                 142.9 99 98 96 +39 +34 +30 +14 18 20 14
                Company serves aerospace, industrial and defense segments.    New base has a 149.90 buy point; late-stage base.                                                                                     Back below 146.17 three-weeks-tight entry, testing support.          Clears 79.84 entry in 2nd-stage flat base, in buy zone.
                                                                                            Baozun (BZUN)              Grp 10              o$48.57
     9          Copart                   81.38 99 98 94 +12 +43 +17 +21 31 31 16
                Auctioned vehicles are sold to dismantlers, rebuilders and others.
                                                                                             33.4M Shares 98 Comp. Rating 99 EPS RS 92 ROE 17%  10                                                                  11 MasTec  (MTZ)            Grp 81             o$63.67   Epam (EPAM)            Grp 27             o$192.89
                                                                                                                                                                                                                        54.9M Shares 96 Comp. Rating 97 EPS RS 96 ROE 21% 12 51.6M Shares 99 Comp. Rating 97 EPS RS 93 ROE 22%
                                                                                   China-based company that provides end-to-end solutions to Ecom-                                                                  Provides building, installation, maintenance and upgrade of commu-   Provider of outsourced IT and lifecycle software development servic-
                                                                                                                                                merce business partners.                                            nications, energy and other infrastructure.                          es such as design, prototyping, testing
    10          Baozun               48.57 98 99 92 +38 +42 +28 +42 17 7 9
                7Company aids exporters wishing to sell in the China e–commerce market.
                                                                                        +79% Ann. EPS Gro PE 50 Avg. D. Vol 1,652,100 Debt 3%
                                                                                 Last Qtr Eps +42%6 Prior Qtr +54%5 Last Qtr Sales +42%
                                                                                                                                                                                                                    +50% Ann. EPS Gro PE 14 Avg. Daily Vol 858,800 Debt 95%
                                                                                                                                                                                                                    Last Qtr Eps +54%6 Prior Qtr +66%6 Last Qtr Sales +20%
                                                                                                                                                                                                                                                                                         +23% Ann. EPS Gro PE 39 Avg. Daily Vol 403,000 Debt 2%
                                                                                                                                                                                                                                                                                         Last Qtr Eps +27%6 Prior Qtr +34%5 Last Qtr Sales +24%
                                          63.67 96 97 96 +33 +54 +22 +20 21 6 21 7 Qtrs EPS ) 15%                                                                                                                   4 Qtrs EPS ) 15%                                                     8 Qtrs EPS ) 15%
    11          MasTec
                Expert in building, maintenance services for utilities, telcos.  Eps Due 11/21e                                                                                                                     Eps Due 10/30                                                        Eps Due 10/30


    12          Epam                   192.9 99 97 93 +20 +27 +15 +24 22 17
                7IT outsourcer focuses on Central, Eastern Europe, where rivals lag.
                                                                                                                                           5                                                Acc/Dis D-
                                                                                                                                                                                       Sup/Demand 94
                                                                                                                                                                                                                                                                Acc/Dis B-
                                                                                                                                                                                                                                                           Sup/Demand 80
                                                                                                                                                                                                                                                                                                                                       Acc/Dis B-


    13          Lululemon               203.1 98 96 96 +21 +35 +20 +22 34 21
                7Continues to innovate in field of yogawear, athletic apparel.
                                                                                                                                           1

                                                                                                                                                New double bottom forming, 50.73 buy point.                         Holds above 62.42 three-weeks-tight entry.                           New flat base on base forming with 201.10 buy point.
    14          CDW                   118.4 98 96 92 +13 +16 +11 +11 81 6
                7Chicago suburban firm provides hardware, software and tech solutions.
                                                                                                                                           2

                                                                                                                                                13 Lululemon (LULU)           Grp 56           o$203.14   CDW (CDW)              Grp 27              o$118.39   Edwards Lifesciences (EW) Grp 48 o$226.29
                                                                                                                                                    109.4M Shares 98 Comp. Rating 96 EPS RS 96 ROE 34% 14 140.4M Shares 98 Comp. Rating 96 EPS RS 92 ROE 81% 15 203.8M Shares 99 Comp. Rating 93 EPS RS 95 ROE 33%
    15          Edwards Lifesciences 226.3 99 93 95 +13 +11
                Company is a leader in heart valve replacements.
                                                                                                           +14       +15 33 31             2 Operates and franchises 440 athletic apparel stores in U.S., Canada,
                                                                                                                                                Australia, UK, New Zealand.
                                                                                                                                                                                                                    Provides information technology hardware and software products to
                                                                                                                                                                                                                    customers in the U.S., U.K. and Canada.
                                                                                                                                                                                                                                                                                         Develops products to treat cardiovascular disease, including heart
                                                                                                                                                                                                                                                                                         valve and peripheral vascular disorders.
                                                                                                                                                +33% Ann. EPS Gro PE 47 Avg. D. Vol 1,531,300 Debt 0%               +22% Ann. EPS Gro PE 21 Avg. Daily Vol 771,800 Debt 326%             +25% Ann. EPS Gro PE 46 Avg. D. Vol 1,174,400 Debt 19%
                                                                                                                                                Last Qtr Eps +35% Prior Qtr +35%6 Last Qtr Sales +22%               Last Qtr Eps +16%6 Prior Qtr +18%6 Last Qtr Sales +11%               Last Qtr Eps +11%5 Prior Qtr +8%6 Last Qtr Sales +15%
                                                                                                                                                8 Qtrs EPS ) 15%                                                    6 Qtrs EPS ) 15%                                                     0 Qtrs EPS ) 15%
    How To Succeed With IBD 50                                                                                                                  Eps Due 12/6e                                                       Eps Due 10/29                                                        Eps Due 10/21
                                                                                                                                                                                                                                                                                         R&D 17%
    The IBD 50 is a weekly computer-generated watch list of market leading
    growth stocks. We use earnings, sales plus other basics & price                                                                                                                         Acc/Dis B-                                                            Acc/Dis A                                                        Acc/Dis A
                                                                                                                                                                                       Sup/Demand 81
    action. Don’t buy a stock solely on it being in the list. Scan charts for ones
    near buy points, in price bases or at support areas like a 10-week moving
    average. See Investors.com for further research. Be sure to read an
    archived story & analyze your stock with IBD’s Stock Checkup.                                                                               Near top of 5% buy zone after gap up over 194.35 entry.             Finally gets extended after clearing 111.69 buy point.               In buy range; 218.16 alternate entry on earnings-driven gap.


                                              UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF TEXAS
                                                    AUSTIN DIVISION
    In re EZCORP, INC. SECURITIES LITIGATION                                                Lead Case No. 1:15-CV-00608-SS
                                                                                            Honorable Sam Sparks
     SUMMARY NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT;
            (II) SETTLEMENT FAIRNESS HEARING; AND (III) MOTION FOR AN AWARD OF
                 ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES
          TO: All persons and entities who, during the period between January 28, 2014 and October 20,
          2015, inclusive, purchased or otherwise acquired EZCORP’s Class A common stock and were
          injured thereby (the “Settlement Class”):
    PLEASE READ THIS NOTICE CAREFULLY; YOUR RIGHTS WILL BE AFFECTED BY A
    CLASS ACTION LAWSUIT PENDING IN THIS COURT.
        YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil Procedure and an
    Order of the United States District Court for the Western District of Texas, that the above-captioned litigation
    (the “Action”) has been certiﬁed as a class action on behalf of the Settlement Class, except for certain persons
    and entities who are excluded from the Settlement Class by deﬁnition as set forth in the full Notice of (I)
    Pendency of Class Action and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an
    Award of Attorneys’ Fees and Reimbursement of Litigation Expenses (the “Notice”).
        YOU ARE ALSO NOTIFIED that Lead Plaintiff in the Action has reached a proposed settlement of the
    Action for $4,875,000 in cash (the “Settlement”), that, if approved, will resolve all claims in the Action.
    A hearing will be held on December 6, 2019 at 10:00 a.m., before the Honorable Sam Sparks at the United
    States District Court for the Western District of Texas, United States Courthouse, 501 West 5th Street, Suite
    4120, Austin, TX 78701, to determine (i) whether the proposed Settlement should be approved as fair,
    reasonable, and adequate; (ii) whether the Action should be dismissed with prejudice against Defendants, and
    the Releases speciﬁed and described in the Stipulation and Agreement of Settlement dated July 18, 2019 (and
    in the Notice) should be granted; (iii) whether the proposed Plan of Allocation should be approved as fair and
    reasonable; and (iv) whether Class Counsel’s application for an award of attorneys’ fees and reimbursement
    of expenses should be approved.
        If you are a member of the Settlement Class, your rights will be affected by the pending Action
    and the Settlement, and you may be entitled to share in the Settlement Fund. The Notice and Proof of
    Claim and Release Form (“Claim Form”), can be downloaded from the website maintained by the Claims
    Administrator, www.EZCORPsettlement.com. You may also obtain copies of the Notice and Claim Form
    by contacting the Claims Administrator at In re EZCORP, Inc. Securities Litigation, c/o KCC Class Action
    Services, P.O. Box 43046, Providence, RI 02940-3046, 1-877-295-8619.
        If you are a member of the Settlement Class, in order to be eligible to receive a payment under the proposed
    Settlement, you must submit a Claim Form postmarked no later than January 25, 2020. If you are a Settlement
    Class Member and do not submit a proper Claim Form, you will not be eligible to share in the distribution of
    the net proceeds of the Settlement, but you will nevertheless be bound by any judgments or orders entered by
    the Court in the Action.
        If you are a member of the Settlement Class and wish to exclude yourself from the Settlement Class, you
    must submit a request for exclusion such that it is received no later than November 15, 2019, in accordance
    with the instructions set forth in the Notice. If you properly exclude yourself from the Settlement Class, you
    will not be bound by any judgments or orders entered by the Court in the Action, and you will not be eligible
    to share in the proceeds of the Settlement.
        Any objections to the proposed Settlement, the proposed Plan of Allocation, or Class Counsel’s motion for
    attorneys’ fees and reimbursement of expenses, must be ﬁled with the Court and delivered to Class Counsel
    and Defendants’ Counsel such that they are received no later than November 15, 2019, in accordance with the
    instructions set forth in the Notice.
    Please do not contact the Court, the Clerk’s ofﬁce, EZCORP, or its counsel regarding this notice. All
    questions about this notice, the proposed Settlement, or your eligibility to participate in the Settlement
    should be directed to Class Counsel or the Claims Administrator.
        Inquiries, other than requests for the Notice and Claim Form, should be made to Class Counsel:
                Glancy Prongay & Murray LLP                                    Block & Leviton LLP
                  Attn: Casey E. Sadler, Esq.                              Attn: Jacob A. Walker, Esq.
              1925 Century Park East, Suite 2100                         260 Franklin Street, Suite 1860,
                     Los Angeles, CA 90067                                      Boston, MA 02110
                   Telephone: (310) 201-9150                               Telephone: (617) 398-5617
              Email: settlements@glancylaw.com                             Email: jake@blockesq.com
      Requests for the Notice and Claim Form should be made to:
                                    In re EZCORP, Inc. Securities Litigation
                                         c/o KCC Class Action Services
                                                P.O. Box 43046
                                           Providence RI 02940-3046
                                                1-877-295-8619
                                         www.EZCORPsettlement.com
    DATED: August 5, 2019                                                                                      By Order of the Court




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                                         Oct 5, 2019.............Houston
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Prongay & Murray LLP
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                  EXHIBIT 2
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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS




In re EZCORP, Inc. Securities Litigation   Master File No. 1:15-cv-00608-SS




 DECLARATION OF JEFFREY C. BLOCK IN SUPPORT OF LEAD COUNSEL’S
        MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
           REIMBURSEMENT OF LITIGATION EXPENSES
           FILED ON BEHALF OF BLOCK & LEVITON LLP
      Case 1:15-cv-00608-SS Document 144-1 Filed 11/01/19 Page 37 of 121




        I, Jeffrey C. Block, Esq., pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.      I am admitted to practice law before all of the courts of the Commonwealth of

Massachusetts and I am admitted pro hac vice in this Action. I am the founding partner of the law

firm Block & Leviton LLP (“Lead Counsel”), counsel of record for Lead Plaintiff John Rooney

(“Lead Plaintiff”), and to the Class. I respectfully submit this declaration in support of Lead

Counsel’s application for an award of attorneys’ fees in connection with services rendered in the

Action, as well as for reimbursement of litigation expenses incurred in connection with the Action.

        2.      I have personally participated in, overseen, and monitored the prosecution of this

Action, and have otherwise been kept informed of developments in this Litigation by attorneys

working with me and under my supervision. Thus, if called upon, I can testify to the matters set

forth herein.

        3.      As Lead Counsel, my firm was involved in all aspects of the litigation and its

settlement as set forth in the Declaration of Jeffrey C. Block in Support of Lead Plaintiff’s Motion

for: (1) Final Approval of Class Action Settlement and Plan of Allocation of Settlement Proceeds;

(2) Award of Attorneys’ Fees and Reimbursement of Class Expenses; and (3) Award of

Contribution Award to Lead Plaintiff.

        4.      Attorneys at my firm billed the following aggregate hours to this matter as of the

date of filing, with fees applied at the firm’s current billing rates:




                                                   2
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    Timekeeper           Type       Hours       Hourly Rate           Total
 Block, Jeffrey            P        705.3             $950           $670,035.00
 Davey, Elizabeth          PL        42.3             $250            $10,575.00
 Fleming, Joel             P         26.6             $725            $19,285.00
 Jordy, Brooke             PL        26.4             $235              $6,204.00
 Langsen, Erica            A        186.8             $525            $98,070.00
 Silver, Nathaniel         A        409.0             $450           $184,050.00
 Walker, Jacob             P        1033.1            $725           $748,997.50
 Total                                                              $1,737,216.50
P = Partner; A = Associate; PL = Paralegal



         5.       Block & Leviton directly incurred the following expenses directly related to the

litigation of this action (which have been summarized in categories):

                     Category                         Expense
 Expert Witnesses                                      $71,440.14
 Travel (Flights, Lodging, Meals)                      $24,296.74
 Document Review Software                              $16,933.57
 Legal Research                                        $13,445.32
 Mediation Fees                                        $11,418.58
 Court Reporters / Depositions                         $10,394.97
 Printing                                               $2,347.23
 Process Servers                                        $1,499.35
 Shipping & Postage                                      $189.74
 Total Expenses                                       $151,965.64



         6.       Attached as Exhibit A is a true and correct copy of Block & Leviton LLP’s firm

resume.



                                                  3
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      I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on this 1st day of November, 2019, at Boston,

Massachusetts.


                                           By: s/ Jeffrey C. Block
                                           Jeffrey C. Block, pro hac vice
                                           Block & Leviton LLP
                                           260 Franklin Street, Suite 1860
                                           Boston, MA 02110
                                           Telephone: (617) 398-5600
                                           Facsimile: (617) 507-6020
                                           jeff@blockesq.com

                                           Lead Counsel for the Class




                                              4
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served upon its filing via this Court’s CM/ECF

system on this 1st day of November, 2019 to all counsel of record.



                                                    By: s/ Jeffrey C. Block
                                                           Jeffrey C. Block




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          Exhibit A
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                                                               Firm Resume
     260 Franklin Street, Suite 1860 | Boston, MA 02110
     100 Pine Street, Suite 1250 | San Francisco, CA 94111
     1735 20th St NW | Washington, DC 20009

     T. (617) 398-5600 | F. (617) 507-6020

     www.blockesq.com
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       FIGHT FOR A LEVEL PLAYING FIELD.
       Block & Leviton believes investors, pensioners, consumers and employees deserve an advocate who will take
       a stand to protect their rights. We value our role not only in recovering our clients’ immediate losses, but in
       protecting their long-term interests by helping to shape corporate policy. We genuinely enjoy our work, which
       each day offers an opportunity to tackle novel problems and unique challenges in a continuously evolving
       economy. We concur with Aristotle’s observation that pleasure in the job puts perfection in the work. We believe
       this is reflected in our track record, which includes our ability to take a case to trial and win, as well as our
       appointment as lead or co-lead counsel in many dozens of high profile matters, including:


       In re BP Securities Litig., Case No. 4:10-MD-02185 (S.D. Tex.) (settled for $175 million), In re Google Class C
       Shareholder Litig., Case No. 7469-CS (Del. Ch.) (settled for $522 million), In re Drywall Antirust Litig., Case No.
       13-md-02437 (E.D. Pa.) (settled for approximately $17 million), In re Volkswagen “Clean Diesel” Marketing, Sales
       Practices and Products Liability Litig., Case No. 3:15-md- 02672 (N.D. Cal.) (settlement valued at approximately
       $15 billion), Pfeifer v. Wawa, Case No. 2:16-cv-00497 (E.D. Pa.) ($25 million settlement in ESOP litigation), and
       Allman v. American Airlines, Inc. Pilot Retirement Program Variable Income Plan, et al., Case No. 14-cv-10138-IT
       (D. Mass) (settlement provided 100% of damages to servicemembers).


       Our attorneys have successfully recovered billions for our clients and class members and have done so even
       under adverse conditions, including successfully litigating against bankrupt and foreign-based corporations.


       DEFY CONVENTION.
       Instrumental to our philosophy is the willingness to embrace new ways of seeing, and solving, our clients’
       problems. For example, we challenged Google Inc.’s plan to issue a new class of non-voting stock that threatened
       to diminish the value of minority investors’ holdings in the company. With trial set to begin in less than two days,
       Block & Leviton brokered a settlement with Google Inc. and its directors that provided for a forwardlooking
       payment ladder (valued at up to $7.5 billion) to protect minority investors against future diminution in their stock
       value. As a result of the payment ladder, shareholders ultimately recovered $522 million in cash and stock in
       May 2015. Appreciation of the fact that each of our clients has a unique viewpoint allows us to tailor our advice
       and representation accordingly to achieve superior results, and to do so with maximum efficiency.


       SURROUND YOURSELF WITH THE BEST.
       The Firm credits its success to its entire team of extremely talented, dedicated attorneys, the majority of
       whom have significant litigation experience. An in-depth curriculum vitae highlighting each attorney’s areas of
       expertise, unique experience, recognition in the field and education credentials follows.




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                                                   Jeffrey Block is a co-founding partner of Block & Leviton. With a career
                                                   spanning thirty years, Jeff is recognized as one of the nation’s preeminent
                                                   class action attorneys and is recognize as a “Super Lawyer” by Massachusetts
                                                   Super Lawyers. Jeff was one of the lead attorneys representing the Ohio Public
                                                   Employees Retirement System in In re BP Sec. Litig., No. 4:10-MD-02185
JEFFREY C. BLOCK                                   (S.D. Tex.), charging that BP misled investors as to the amount of oil leaking
Partner                                            from the Macondo well after the explosion aboard the Deepwater Horizon oil
    jeff@blockesq.com                              rig in the Gulf of Mexico in 2010. Jeff, on behalf of the plaintiffs, successfully
                                                   argued against defendants’ motions to dismiss, in favor of class certification,
                                                   in opposition to summary judgment, and helped secure a settlement of $175
EDUCATION                                          million for the class, which represents more than 60% of the class’ actual losses.
                                                   Jeff also represented the Brockton Retirement System in an action challenging
•   Brooklyn Law School, J.D., cum laude 1986
                                                   Google’s attempt to split its stock into voting and non-voting shares. See In re
•   State University of New York, B.A.,
                                                   Google, Inc. Class C S’holder Litig., Case No. 7469-CS (Del. Ch. Ct.). Two days
    Political Science, cum laude 1983
                                                   before the start of trial, the action settled for significant corporate governance
                                                   changes and a payment ladder valued up to $7.5 billion, which was designed to
BAR ADMISSIONS                                     protect shareholders against any diminution in the value of their shares during
•   New York                                       the first year of trading. Because of the payment ladder, shareholders ultimately
•   Massachusetts                                  recovered $522 million in cash and stock in May 2015.


COURT ADMISSIONS                                   In addition, Jeff represents some of the country’s largest institutional investors,
                                                   including the Massachusetts Pension Reserves Investment Management
•   United States Supreme Court
                                                   Board (PRIM), the Ohio Public Employees Retirement System, the Ohio
•   First, Second, Third, Ninth, and Eleventh
                                                   State Teachers Retirement System, the Washington State Investment Board,
    Circuit Courts of Appeal
                                                   the New Mexico Educational Retirement Board, the New Mexico Public
•   D. Mass.                                       Employees Retirement System, the New Mexico State Investment Council and
•   S.D.N.Y. and E.D.N.Y.                          the Oklahoma Police Pension and Retirement System.

PUBLICATIONS | SPEAKING EVENTS                     Some of the major class actions that Jeff has either led, or played a significant
•   ALI-ABA Conference for Insurance and           role in, include: In re First Executive Corp. Securities Litig., 89-cv-7135 (C.D.
    Financial Services Industry Litigation, July   Cal.) (settled for $100 million); In re Xerox Corp. Sec. Litig., 3:00-cv- 01621 (D.
    2009, Lecturer and Panelist                    Co11nn.) (settled for $750 million); In re Bristol Myers Squibb Sec. Litig., 02-cv-
•   Damages in Securities Litigation, sponsored    2251 (S.D.N.Y.) (settled for $300 million); In re Lernout & Hauspie Sec. Litig.,
    by Law Seminars International at the           1:00-cv-11589 (D. Mass.) (settled for $180 million); In re Symbol Technologies
    Harvard Club, Panelist                         Sec. Litig., 2:02-cv-1383 (E.D.N.Y.) (settled for $127 million); In re Prison Realty
                                                   Corp. Sec. Litig., 3:99-cv-0452 (M.D. Tenn.) (settled for over $100 million);
•   Litigation to Remedy Meltdown Damages:
                                                   In re Philip Services Corp. Sec. Litig., 98-cv-835 (S.D.N.Y.) (settled for $79.75
    What Can Be Gained?, Harvard Law
                                                   million); In re American Home Mortgage Sec. Litig., 07-MD-1898 (E.D.N.Y.)
    School’s Capital Matters Conference,
                                                   (settled for $50.5 million); In re Force Protection Sec. Litig., 2:08-cv-845 (D.S.C.)
    Speaker
                                                   ($24 million settlement); In re Swisher Hygiene, Inc., Securities and Derivative
•   Guest commentator on NBC
                                                   Litig., 3:12-md-2384 GCM (W.D.N.C.) ($5.5 million settlement).
•   International Strategies Recoveries for
    Foreign Investments, Post Morrison, San
    Francisco Bar Association, Panel Moderator




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    Jeff has a proven record of overcoming significant challenges to obtain substantial recoveries on behalf of his clients.
    For example, in the Philip Services securities litigation, Jeff persuaded the United States Court of Appeals for the
    Second Circuit to reverse the District Court’s dismissal of the action on the grounds of forum non conveniens. See
    Dirienzo v. Philip Services Corp., 294 F.3d 21 (2d. Cir. 2002).

    Upon reversal, Jeff led the team of attorneys in taking more than 40 depositions and, upon the eve of trial, the action
    settled for $79.50 million, among the largest recoveries ever in a securities action from a Canadian accounting firm.
    Jeff’s skills were discussed in great lengths by the court, specifically noting that counsel:




            pursued this fact-intensive and legally complex litigation vigorously over a nine-year period,
            rejected offers of settlement for amounts inferior to the amounts upon which the parties
            ultimately agreed, and assumed significant risks of non-recovery. Co-Lead Counsel had to
            overcome the disclaimers and uncertainties of insurance coverage, and vigorous advocacy of
            extremely able and deeply-staffed defense counsel. … And they did their work efficiently,
            with minimal duplication, and maximum effectiveness.




         I was careful to choose attorneys who have
         great ability [and] great reputation… And I                          Honorable C. Weston Houck
         think you’ve undertaken the representation                           In re Force Protection Sec. Litig., 2:08-
         of these people, you’ve done an excellent                            cv-845 CWH (D.S.C.)
         job, you’ve reached a settlement that I                              ($24 million settlement)
         think is fair and in their benefit .




    In re Philip Servs. Corp. Sec. Litig., 2007 U.S. Dist. LEXIS 101427, 13-14 (S.D.N.Y. Mar. 27, 2007) (Honorable Alvin
    K. Hellerstein). Similarly, in Lernout & Hauspie Sec. Litig., Jeff was the lead attorney in securing over $180 million for
    defrauded investors. The action involved an accounting fraud of a company headquartered in both the United States
    and Belgium.

    Recently, Jeff led a team of litigators, private investigators and a forensic accountant through a complex accounting
    fraud case. Jeff settled the case on terms extremely beneficial to the class, as recognized by the court. See In re Swisher
    Hygiene, Inc., Securities and Derivative Litig., 3:12-md-2384 GCM (W.D.N.C.).




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                                                        Jason is a co-founding partner of Block & Leviton and focuses his practice on
                                                        investor protection and shareholder rights matters. He serves as Co-Chair of
                                                        the Firm’s New Case Investigation and Monitoring Team and Chair of the
                                                        Merger and Acquisition/Deal Litigation Team.

JASON M. LEVITON
                                                        In 2011 and each year thereafter, Jason was named either a “Super Lawyer”
Partner                                                 or “Rising Star” by Massachusetts Super Lawyers, an honor given to only
    jason@blockesq.com                                  3% and 5% of all lawyers, respectively. Jason also has a Martindale-Hubbell
                                                        AV Preeminent Rating, the highest rating possible. In 2014, Jason was named
                                                        as a Top 100 Trial Lawyer by the National Trial Lawyer Association. After
EDUCATION
                                                        receiving his law degree from Gonzaga University School of Law, cum laude,
• Georgetown University Law Center, LL.M.,
                                                        Jason attended the Georgetown University Law Center and received a Master
   Securities and Financial Regulations - Dean’s
   Award (1 of 6)                                       of Laws (LL.M.) in Securities and Financial Regulation (Dean’s Award, 1
• Gonzaga University School of Law, J.D.,               of 6). During that time, he was the inaugural LL.M. student selected for an
   cum laude, Moot Court Council, International         externship with the S.E.C., Enforcement Division. Jason is now a member of
   Law Review                                           the Association of Securities and Exchange Commission Alumni.
• Gonzaga University, B.A., Philosophy and
   Political Science                                    Jason has focused his practice on claims alleging breaches of fiduciary duty
                                                        against officers and directors of publicly traded companies. Indeed, in just
BAR ADMISSIONS
                                                        the last few years alone, his litigation efforts have led to hundreds of millions
• Massachusetts
                                                        of dollars being returned to aggrieved stockholders. More specifically, Jason
• District of Columbia
                                                        served as lead or co-lead counsel in the following breach of fiduciary duty
• Washington (voluntarily inactive)
                                                        actions: In re Plains Exploration & Production Co. Stockholder Litig., Case
• Florida (voluntarily inactive)
                                                        No. 8090-VCN (Del. Ch.) (litigation led to an increase of approximately
                                                        $400 million to the original merger amount); In re Onyx Pharmaceuticals Inc.
COURT ADMISSIONS
                                                        Shareholder Litigation, Case No. CIV523789 (Cal. Sup. Ct) (settled for $30
• First Circuit Court of Appeals
                                                        million; at the time, the largest M&A class action in California state court
• D. Mass.
• D. D.C.                                               history); In re Handy & Harman, Ltd., S’holders Litig., Case No. 2017-0882-
• W.D. Wash.                                            TMR (Del. Ch.) (settled for $30 million, making it one of the largest sell-side
                                                        premiums ever achieved for stockholders through Delaware litigation; pending
PUBLICATIONS | SPEAKING EVENTS                          court approval); In re Rentrak Shareholders Litig., Case No. 15CV27429 (Ore.
• Guest on Rights Radio                                 Sup.) ($19 million settlement and with the related action, $23.75 million; the
• Law360 Securities Law Editorial Advisory Board        largest Oregon M&A settlement); and In re Cybex Int’l Shareholders Litig., Case
• SEC Litigation Release No. 18638, primary             No. 653794/2012 (N.Y. Sup. Ct) (settlement involved substantial dividend
   author                                               payment to shareholders).
• Contributor, After the Ball is Over: Investor
   Remedies in the Wake of the Dot-Com Crash            Moreover, Jason served as lead counsel in an action to invalidate certain
   and Recent Scandals, Nebraska Law Review,
                                                        provisions in three companies’ certificates of incorporation that limited the
• 2005
                                                        forum in which investors could file suit under the Securities Act of 1933. See
• Speaker at Georgetown University Law Center
   on prosecution of securities class action lawsuits   Sciabucucchi v. Salzberg, C.A. no. 2017-0931-JTL (Del. Ch. Dec. 19, 2018).
• Presenter at Business Law Symposium entitled          The Court’s opinion was described by Reuters as a “Delaware death blow” to
   Shareholder Rights: An Idea Whose Time has           mandatory arbitration.
   Come, November 2013
• Presenter at National Conference on Public
   Employee Retirement Systems



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   In addition to his class action experiences, Jason has litigated other forms of complex litigation. For instance, he worked
   with a former State of New York Attorney General in the defense of an attorney accused of insider trading, which included
   a criminal referral to the United States Department of Justice.

   He was also heavily involved in the representation of four detainees being held at the Guantánamo Bay Naval Station in
   Cuba. Moreover, Jason has represented former employee whistleblowers before the S.E.C. where, in one instance, he
   successfully argued that his clients should receive the maximum whistleblower award of 30% pursuant to the Dodd-Frank
   Act, which equated to nearly $1 million. He also represented the same whistleblower in a retaliation claim against several
   Oppenheimer-related entities. See John Doe v. Oppenheimer Asset Management, Inc., et al., Case No. 1:14-cv-00779-LAP
   (S.D.N.Y.).

   Jason has considerable experience litigating consumer class action cases involving deceptive business practices. For
   example, Jason, as co-lead counsel, successfully recovered 100% of the class’s alleged damages stemming from the
   overcharging of scooped coffee beans at Starbucks stores throughout the country. See In re Starbucks Consumer Litig., Case
   No. 2:11-cv-01985-MJP (W.D. Wa.).

   Prior to forming Block & Leviton, Jason was an attorney at three other preeminent class action firms. There, he was
   instrumental in recovering $10.5 million in the Welmon v. Chicago Bridge & Iron, Case No. 06-cv- 01283, securities class
   action litigation. In that case, Jason represented Fortis Investments, a major European asset management company
   and, in addition to the monetary settlement, was able to institute several corporate governance changes at the company.
   In granting the Chicago Bridge & Iron settlement, the Honorable John Sprizzo stated that “Plaintiffs’ counsel have
   conducted the litigation and achieved the settlement with skill, perserversance and diligent advocacy.” Chicago
   Bridge & Iron ( June 3, 2008).

   Moreover, in the Ong v. Sears Roebuck & Co., Case No. 03 C 4142 (N.D. Ill.), securities class action, Jason represented the
   State Universities Retirement System of Illinois (SURS) and helped settle the action for $15.5 million. He also represented
   the Iowa Public Employees’ Retirement System, the Policemen’s Annuity & Benefit Fund of Chicago, the Central States,
   Southeast and Southwest Areas Pension Fund in the securities class action against MF Global that settled for $90.0
   million. Rubin v. MF Global, LTD., et al., Case No. 08-cv- 02233 (S.D.N.Y.). Likewise, he was a member of the In re
   VeriSign Securities Litigation, Case No. C-02-2270 (N.D. Cal.) team that recovered more than $78.0 million for investors.




         The settlement is – gosh. . . . the fact
                                                                           Honorable Graham C. Mullen,
         that it’s occurring within the context of a
         securities case, which is very difficult for                      In re Swisher Hygiene, Inc., Securities and
         plaintiffs to win, is extremely impressive to                     Derivative Litig., 3:12-md-2384 GCM
         me. . . . [T]his is a matter which has been                       (W.D.N.C.) ($5.5 million settlement)
         fairly litigated by people.




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                                                      Block & Leviton Partner Whitney Street has over fifteen years of complex
                                                      litigation experience and significant expertise in antitrust and securities class
                                                      action litigation. Whitney, who serves as Chair of the Firm’s Competition
                                                      Law Group, was appointed Co-Lead Counsel on behalf of a class of indirect
                                                      purchasers in In re Domestic Drywall Antitrust Litig., 13-md-02437 (E.D.Pa.),
WHITNEY E. STREET
                                                      which involved allegations of price fixing and other forms of concerted conduct
Partner
                                                      in violation of the antitrust laws. Whitney recovered approximately $17 million
    whitney@blockesq.com                              on behalf of the class of indirect purchasers in that action.


EDUCATION                                             In addition, Whitney represents the City of Providence and a class of indirect
• University of Virginia School of Law, J.D.          purchasers in an antitrust class action suit against Celgene Corp. for unlawfully
• University of Virginia, B.A., Economics and         excluding generic competition for vital cancer treatment drugs. See In re
   Literature                                         Thalomid and Revlimid Antitrust Litig., 14-cv-06997 (D.N.J.). Whitney was
                                                      also appointed to the Plaintiffs’ Steering Committee in In re Packaged Seafood
BAR ADMISSIONS                                        Antitrust Litig., 15-md-02670 (S.D.Cal.) (alleging price fixing in the market for
• California                                          shelf-stable seafood products) and in In re Liquid Aluminum Sulfate Antitrust
• New York                                            Litig., 16-md-02687 (D.N.J.) (alleging bid rigging, market allocation, and price
• Massachusetts
                                                      fixing in the market for aluminum sulfate). Whitney is also a member of the
• Texas
                                                      litigation team representing direct purchasers in In re Broiler Chicken Antitrust
                                                      Litig., No. 16-cv-8637 (N.D.Ill.), a class action alleging that broiler chicken
COURT ADMISSIONS
                                                      producers engaged in a price fixing conspiracy.
• N.D. Cal. and E.D. Cal.
• S.D.N.Y. and E.D.N.Y.
                                                      Whitney was an integral part of the litigation teams in the following antitrust
• D. Mass.
                                                      class actions: Air Cargo Shipping Services Antitrust Litigation, 06-md- 1775
PROFESSIONAL ACTIVITIES                               (E.D.N.Y.) (settlements totaling more than $270.0 million); In re Ethylene
• Founder and former Co-Chair of the AAJ              Propylene Diene Monomer (EPDM) Antitrust Litigation, 3:03-md-1542 (D.
   Antitrust Litigation Group                         Conn.) (partial settlements totaling $87.0 million); In re Methyl Methacrylate
• Member of the Steering Committee for the            (MMA) Antitrust Litigation, 06-md-01768 (E.D. Pa.) (settled for $15.0 million);
   Complex Litigation E-Discovery Forum               and In re Hydrogen Peroxide Antitrust Litigation, 05-civ-666 (E.D. Pa.) (partial
                                                      settlements of more than $4.0 million).
PUBLICATIONS | SPEAKING EVENTS
• Moderator, Introduction to the Use of               Whitney received her training at prominent litigation firms in New York and
   Regression Analysis in Antitrust Class Action
                                                      Boston where she represented clients in antitrust and securities class actions.
   Litigation, American Association for Justice
   Webinar (August 2016)                              She began her career at Pillsbury Winthrop Shaw Pittman, one of the largest
• Co-Author, What Lies Ahead in High Stakes           law firms in California.
   Pay-For-Delay Antitrust Litigation, American
   Association of Justice Business Torts Newsletter
   (May 2015)
• Author, Technology Assisted Review: the
   Disclosure of Training Sets and Related
   Transparency Issues, Georgetown Law
   Advanced eDiscovery Institute (Fall 2014)
• Faculty, Georgetown University Law Advanced
   eDiscovery Institute (November 2014)
• Co-Author, Decision Re-Affirms Critical Role
   of Shareholders Benefits and Pensions Monitor
   (October 2014)


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                                               R. Joseph Barton is the Chair of the Firm’s Employee Benefits Group and the
                                               Firm’s Veterans/Servicemember Rights Group at the Firm. Joe has significant
                                               experience handling a diverse array of complex and class litigation. Joe has a
R. JOSEPH BARTON                               Martindale-Hubbell AV Preeminent Rating, has been selected every year since
Partner                                        2013 as a Washington, D.C. Super Lawyer, has a 10.0 rating from Avvo, and is
                                               listed in the Marquis’ Who’s Who in American Law.
    joe@blockesq.com

                                               Notable ERISA Cases

                                               Since 2001, Joe has handled a wide variety of employee benefit (i.e. ERISA)
EDUCATION                                      cases. He has been trial counsel in four ERISA cases. He was lead trial counsel
• College of William & Mary, Marshall-Wythe    in a case challenging a complex transaction involving the Trachte ESOP and
   Law School, J.D. Order of the Coif
                                               the Alliance ESOP on behalf of a class of employees of Trachte, Chesemore
• College of William & Mary, B.A., History
                                               v. Alliance Holdings, Inc., No. 3:09-cv-00413 (W.D. Wis.). In that case, Joe
   and Classical Studies
                                               obtained a favorable trial decisions on a liability and remedies of $17.2 million
BAR ADMISSIONS                                 (plus prejudgment interest) for the Class which was affirmed by the Seventh
• California                                   Circuit. In Severstal Wheeling Inc. Ret. Comm. v. WPN Corporation, No. 10-cv-
• District of Columbia                         954 (S.D.N.Y.), Joe was lead trial counsel representing the fiduciaries of two
                                               pension plan suing their former investment manager for improper investments
COURT ADMISSIONS                               and obtained a judgment for plaintiffs of over $15 million which was affirmed by
• First, Second, Fourth, Fifth, Seventh,       the Second Circuit.
  Eighth, Ninth, Tenth, and Eleventh Circuit
  Courts of Appeal                             Joe is among a handful of lawyers who regularly represent participants in
• D. D.C.                                      litigation involving ESOPs holding privately held stock. In addition to the
• N.D. Cal., C.D. Cal., and S.D. Cal.          Alliance/Trachte ESOP litigation, Joe has litigated and is litigating a number
• N.D. Ill.
                                               of private ESOP cases, including the Azon Corporation ESOP, the Jeld-Wen
• D. Md.
                                               ESOP, the Tharaldson Motels, Inc. ESOP and the Wawa ESOP.
• D. Neb.
• N.D. Tex. and W.D. Tex.
                                               Joe has also been involved in a number of cases involving breaches of fiduciary
• D. Col.
                                               duty and self-dealing, including improperly investing 401k plan assets in
• E.D. Mich.
                                               artificially inflated stock of publicly traded companies, in improper and risky
• D. N.D
                                               investments such as hedge funds or private equity. He litigated one of the
• E.D. Wis. and W.D. Wis.
                                               earliest cases challenging the prudence of investment and fees of the pension
                                               and 401k plans sponsored by New York Life Insurance Company.
PROFESSIONAL ACTIVITIES
• Co-Chair of the Civil Procedure
   Subcommittee for the ABA Employee           Joe has also litigated cases involving the failure to properly pay benefits. In
   Benefits Committee                          Slipchenko v. Brunel, No. 4-11-cv- 01465 (S.D. Tex.), Joe obtained a settlement
• Co-Chair of AAJ Publications Committee       in a COBRA class action which resulted in the largest per classmember
• Chair of Employment Rights Section of the    recovery in any reported COBRA class action. In Simpson v. Fireman’s Fund
   AAJ from 2013 to 2014                       Insurance Company (N.D. Cal.), Joe represented a class employees alleging that
                                               FFIC’s policy of terminated persons on disability violated the discrimination
                                               provisions of ERISA, and obtained a settlement restoring their right to benefits
                                               for a period of years and also reimbursement of past expenses.




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        Notable Cases Involving Veterans & Servicemembers

        In cases involving the rights of veterans and servicemembers, Joe is proud to have achieved results which one court
        described as “outstanding, worthy of being emulated by class representatives and counsel in other comparable
        litigation.” In that case, Tuten v. United Airlines, No. 12-cv-1561-WJM-MEH (D. Col.), he was lead counsel for a class
        of United Airlines Pilots alleging USERRA violations in connection with their pension contributions. The case was
        settled for an amount that provided the Class with 100% of their actual damages.

        In Bush v. Liberty Life Assurance Co., Joe was lead class counsel on behalf of a class participants whose long term
        disability benefits were insured by Liberty Life alleging that those benefits should not have been reduced by the
        amount of benefits provided through the Department of Veterans Affairs. As part of the settlement, Liberty Life
        agreed to return 60% of the monies imposed as offsets and to cease imposing such reductions/offsets unless and until
        the state departments of insurance had approved them.

        Notable Other Cases

        Joe has been significantly involved in litigating antitrust cases. In In re Mercedes-Benz Antitrust Litigation (D.N.J.), a
        class action alleging price-fixing of new Mercedes-Benz vehicles in the New York Region, Joe briefed, argued and
        obtained summary judgment on an issue of first impression that established that lessee-plaintiffs had standing to sue
        as direct purchasers under the federal antitrust laws. That case later settled for $17.5 million. Joe was a part of the
        team that engaged in intensive trial preparations in In re High Fructose Corn Syrup Antitrust Litigation (C.D. Ill.), a
        class action alleging price-fixing by the manufacturers of high fructose corn syrup, which settled for more than $500
        million shortly before trial.

        In a case alleging securities fraud, Joe represented limited partners of Lipper Convertibles, a defunct hedge fund, in
        an arbitration against the fund’s former general partners, and in litigation against the outside auditor in federal district
        court. He has also litigated securities fraud cases involving publicly traded companies.

        Pro Bono Cases

        Joe considers pro bono representation an important part of his practice and has represented clients in actions
        concerning their employer’s failure to pay wages and/or overtime. In one such case, the Judge in D.C. Superior Court
        described his work: “everything done on behalf of the Plaintiff has been professional, timely and thorough.”

        Clerkship

        After graduating law school, Joe served as a judicial law clerk to the Honorable Lenore C. Nesbitt, United States
        District Judge for Southern District of Florida (2000-2001).




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                                                    Block & Leviton Partner Joel Fleming has significant experience in stockholder
                                                    litigation. Since graduating with honors from the Harvard Law School, Joel has
                                                    spent his entire career practicing stockholder litigation and has been recognized
                                                    as a “Rising Star” in securities litigation by Super Lawyers magazine for four
                                                    years in a row.
JOEL FLEMING
Partner                                             Joel was a lead attorney in In re Handy & Harman, Ltd., S’holders Litig., No.
                                                    2017-0882-TMR (Del. Ch.), where the parties have reached an agreement in
    joel@blockesq.com
                                                    principle to settle the action for $30,000,000. The proposed settlement is a
                                                    33% premium to the deal price, which is one of largest sell-side premiums ever
EDUCATION                                           achieved for stockholders through Delaware litigation.
• Harvard Law School, J.D., cum laude
• Wilfrid Laurier University, B.A., Political       Joel was also a lead attorney in In re Rentrak Corporation Shareholders Litigation,
   Science with high distinction                    15CV27429 (Ore. Cir. Ct.) and Nathan v. Matta, No. 16CV32458 (Ore. Cir.
                                                    Ct.)—two related actions which resulted in settlements that returned $23.75
BAR ADMISSIONS                                      million to a class of former shareholders of Rentrak Corporation. The In re
• California                                        Rentrak settlement is believed to be the largest settlement of merger litigation
• Massachusetts                                     in Oregon state court history. It was also one of the top five largest settlements,
                                                    since 2010, of merger litigation arising from transactions valued at less than $1
COURT ADMISSIONS
                                                    billion.
• First and Ninth Circuit Courts of Appeal
• N.D. Cal., C.D. Cal, and S.D. Cal.
                                                    Joel helped lead Sciabucucchi v. Salzberg, C.A. No. 2017-0931-JTL (Del. Ch.),
• D. Mass.
                                                    where he wrote and argued the successful summary judgment motion in a case
                                                    that Reuters has described as striking a “Delaware death blow” to mandatory
PUBLICATIONS                                        arbitration of federal securities claims.
• Co-author, Decision Re-Affirms Critical
   Role of Shareholders, Benefits and Pensions      Prior to joining the firm, Joel was a member of the Securities Litigation and
   Monitor (October 2014)                           Enforcement group at Wilmer Cutler Pickering Hale and Dorr—a large defense
• Co-author, Meltdowns crank up muni-bond           firm headquartered in Boston and Washington, D.C. While at WilmerHale,
   litigation, Daily Journal (September 18, 2013)
                                                    he served as a member of the trial team in AATI v. Skyworks, the first-ever
• Co-author, SEC takes hard line on ‘cyber
                                                    arbitration to go to trial before the Delaware Chancery Court, in a case involving
   incidents’, Daily Journal (April 5, 2013)
                                                    a merger-related dispute between two companies in the high technology
• Co-author, Lower Courts Interpret The
   Supreme Court’s Decision In Janus Capital        industry. Joel represented both companies in a subsequent shareholder class
   Group, Inc. v. First Derivative Traders,         action that ended with the dismissal with prejudice of all counts.
   Financial Fraud Law Report 4:5 (May 2012)

PROFESSIONAL ACTIVITIES
• Visiting Lecturer, Tufts University:
   Experimental College (2013-2015)




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                                                      Among other cases, Jake is currently the lead attorney in Karth v. Keryx
                                                      Biopharmaceuticals, Inc., (D. Mass.), a federal securities class action alleging
                                                      Defendants hid from investors their reliance on a single contract manufacturer,
                                                      who was having consistent, significant problems producing the company’s only
                                                      drug. The market learned these facts only when the company experienced a total
                                                      interruption in its drug supply. Jake is serving as co-lead counsel in In re Tezos
JACOB WALKER
                                                      Securities Litigation (N.D. Cal.), a case involving a so-called “initial coin offering”
Partner                                               (or ICO) of the Tezos cryptocurrency. Jake is also supporting the firm’s lead
    jake@blockesq.com                                 counsel role in In re Trevena Securities Litigation (E.D. Pa.), where Defendants
                                                      made materially false statements about their interactions with the Food and Drug
                                                      Administration which went undisclosed from the market for years.
EDUCATION
• University of Michigan Law School, J.D.,
                                                      Jake has helped lead numerous cases to favorable settlements: In re EZCORP
   cum laude
                                                      Securities Litigation (W.D. Tex.) (arising from an accounting restatement); In re
• Babson College, B.S., Business Administration
                                                      Atossa Genetics, Inc., and In re Amicus Therapeutics Securities Litigation (D. N.J.)
                                                      (both securities fraud class actions concerning misrepresentations made to investors
BAR ADMISSIONS
                                                      about the companies’ interactions with the Food and Drug Administration). Jake is
• Massachusetts
                                                      part of a team appealing a motion to dismiss decision to the Fifth Circuit in Budde
• California
                                                      v. Global Power Equipment Inc., (N.D. Tex.) (accounting restatement). Jake was
COURT ADMISSIONS                                      also a key member of the team that represented the Louisiana Municipal Police
• Supreme Court                                       Employees’ Retirement System in In re Onyx Pharmaceuticals Inc. Shareholder
• First and Ninth Circuit Courts of Appeal            Litigation, (Cal. Sup. Ct.), obtaining a $30 million settlement for shareholders in a
• D. Mass.                                            matter arising out of Onyx’s $11-billion-dollar merger with Amgen. Jake has also
• N.D. Cal. and C.D. Cal.                             successfully litigated several consumer fraud class actions at the firm.

PROFESSIONAL CERTIFICATIONS                           Prior to joining Block & Leviton in 2015, Jake was an associate at two of the
• Certified Information Privacy Professional          country’s top defense firms: Gibson Dunn in Palo Alto, California and Skadden,
   (CIPP/US)                                          Arps in Boston. There, he represented boards of directors, corporate acquisition
                                                      targets, and acquirers in litigation related to mergers and acquisitions. For example,
PUBLICATIONS
                                                      Jake represented defendants in litigation related to the $5.3 billion private equity
• Co-author, PLI’s Securities Litigation treatise –
   chapters on loss causation and securities trials   acquisition of Del Monte Foods Company in state and federal courts in California
                                                      and in the Delaware Court of Chancery, as well as in litigation related to Intel’s $7.7
                                                      billion acquisition of McAfee Inc. in the Superior Court of California, Santa Clara
                                                      County. He has represented numerous third-parties, including various investment
                                                      banks, in M&A litigation in California and Delaware courts.

                                                      While Jake’s legal career has centered on securities and corporate governance
                                                      litigation, Jake also has significant experience representing large technology
                                                      companies, including in the defense of consumer class actions related to privacy
                                                      and technology issues. He is a Certified Information Privacy Professional and has
                                                      a deep understanding of technology and privacy issues. Jake has also represented
                                                      companies in antitrust class actions and investigations, stockholder derivative
                                                      actions, securities class actions, and in investigations before the F.T.C. and the
                                                      Massachusetts Attorney General’s office.

                                                      Jake has been named a “Rising Star” in securities litigation by Massachusetts Super
                                                      Lawyers for four years in a row (2016-2019).


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                                                Vincent Cheng is an associate at the firm and a member of the Employee
                                                Benefits Group and Veterans/Servicemember Rights Group. Since graduating
                                                from law school, Vincent has focused his work on advocating for the rights of
VINCENT CHENG                                   employees and retirees and of veterans and servicemembers. Prior to joining
Senior Associate                                Block & Leviton, he had over 8 years of experience in litigating a variety of
                                                lawsuits on behalf of employees. These lawsuits included cases brought under
    vincent@blockesq.com                        the Employee Retirement Income Security Act (ERISA) involving breach of
                                                fiduciary duty and benefit denial claims and cases brought under the Uniformed
                                                Services Employment and Reemployment Rights Act (USERRA) involving
                                                veterans’ employment rights and benefits, as well as employment cases involving
EDUCATION                                       unpaid overtime wages under the Fair Labor Standards Act and the California
• University of California Berkeley School of   Labor Code and race and gender discrimination under Title VII and the
   Law, J.D.                                    California Fair Employment and Housing Act (FEHA).
• University of California, Berkeley, B.A.,
   Philosophy and Mathematics                   Notable Employee Benefits Cases
BAR ADMISSIONS
                                                •   Carlson v. Northrop Grumman Severance Plan, No. 13-cv-02635 (N.D. Ill.):
• California
                                                    represent a putative class of employees who were laid off from Northrop
                                                    Grumman alleging that they improperly denied cash severance under the
PUBLICATIONS                                        severance plan.
• Author, “National Railroad Passenger
   Corporation v. Morgan: A Problematic         •   Aguilar v. Melkonian Enterprises, Inc., No. 05-cv-00032 (E.D. Cal.):
   Formulation of the Continuing Violation          represented a class of participants in two pension plans alleging that the
   Theory,” California Law Review (October          fiduciaries failed to prudently invest the plan assets; obtained a settlement
   2003)
                                                    that provided for recovery of more than 85% of the losses to the plans.

                                                •   Simpson v. Fireman’s Fund Insurance Company, No. C 05- 000225
                                                    (N.D. Cal.): represented disabled employee-participants alleging that
                                                    FFIC terminated them in violation of ERISA § 510 to prevent them
                                                    from continuing to receive medical benefits; obtained a settlement that
                                                    provided for restoration of their right to benefits for a period of years and
                                                    reimbursement of past medical expenses.

                                                •   Paulsen v. CNF Inc., No. C 03-3960 (N.D. Cal.): represented a group of
                                                    employees alleging that the fiduciaries breached their duties under ERISA
                                                    in connection with the spinoff of a division of CNF, and that the CNF
                                                    pension plan’s actuary breached its duty of care under state law in valuing
                                                    the plan liabilities to be transferred at spinoff and certifying postspinoff that
                                                    the new plan was adequately funded.

                                                •   Hurlic v. Southern California Gas Company, No. 05-5027 (C.D. Cal.):
                                                    represented a group of participants alleging that the pension benefit accrual
                                                    formula under SCGC’s cash balance defined benefit plan violated ERISA’s
                                                    prohibition against age discrimination and ERISA’s anti-backloading rules.




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       Notable Cases Involving Veterans and Servicemembers Rights

       •    Allman v. American Airlines, Inc. Pilot Retirement Benefit Program Variable Income Plan, No. 14-cv-10138 (D.
            Mass.), where American Airlines allegedly violated USERRA and ERISA by making deficient pension
            contributions for a class of pilots who took military leave.

       •    Bush v. Liberty Life Assurance Company of Boston, No. 14-cv-01507 (N.D. Cal.), where Liberty Life agreed to
            return significant portions of reduced long-term disability benefits to veteran-claimants and not to reduce
            future benefits absent state approval.

       •    Munoz v. InGenesis STGi Partners, LLC, No. 14-cv-1547 (S.D. Cal.), a USERRA discrimination and failure-
            to-reemploy case where we obtained through settlement the full amount of the plaintiff’s lost pay and
            benefits plus interest and a sizable amount of liquidated damages.

       Notable Employment Cases

       •    Gutierrez v. Schmid Insulation Contractors, Inc., No. 07-cv-5852 (C.D. Cal.), a wage-and-hour class action
            alleging that the defendants failed to pay for travel time from offices to construction sites, provide meal and
            rest breaks, and pay overtime to a group of Spanish-speaking, immigrant workers.

       •    Wynne v. McCormick & Schmick’s Seafood Restaurants, Inc., 06-cv-03153 (N.D. Cal.), a Title VII and FEHA
            class action alleging race discrimination in hiring and job assignments, which resulted in a consent decree
            through settlement that provided for significant injunctive relief to promote equal employment opportunity
            in defendants’ employment practices.

       •    Holloway v. Best Buy Co., Inc., No. 05-5056 (N.D. Cal.), a Title VII and FEHA class action alleging raceand
            gender discrimination by Best Buy in hiring, promotions, and job assignments.




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                                                  Stephen Teti is a senior associate at Block & Leviton LLP, focusing his practice
                                                  on antitrust litigation. Steve’s antitrust matters include In re Thalomid & Revlimid
                                                  Antitrust Litigation, No. 14-cv-6997 (D.N.J.), a class action alleging that the
                                                  defendant’s extensive anticompetitive conduct excluded generic alternatives for
                                                  Thalomid and Revlimid, two drugs used to treat rare but deadly conditions, from
STEPHEN TETI                                      entering the market, causing end payors to incur millions of dollars in overcharges.
Senior Associate                                  Steve is also a member of the team representing direct purchasers in In re Broiler

    steti@blockesq.com                            Chicken Antitrust Litig., No. 16-cv-8637 (N.D. Ill.), a class action alleging that
                                                  broiler chicken producers engaged in a price fixing conspiracy. Steve is also a
                                                  member of the team representing direct purchasers in In re Pork Antitrust Litig.,
EDUCATION                                         No. 18-cv-1776 (D. Minn.), a class action alleging that pork producers engaged in a
• Quinnipiac University School of Law, J.D.,      price fixing conspiracy.
   magna cum laude
• Fairfield University, B.A., Political Science   Steve joined Block & Leviton after practicing securities, derivative, and consumer
   and French, cum laude                          class litigation for six years at a nationally-recognized plaintiffs’ law firm in
                                                  Connecticut. He previously clerked for the judges of the Connecticut Superior
BAR ADMISSIONS
                                                  Court. During law school, Steve served as Publications Editor of the Quinnipiac
• Massachusetts
                                                  Law Review, a judicial extern to the Honorable Stefan R. Underhill in the United
• Connecticut
                                                  States District Court for the District of Connecticut, an intern for the State of
COURT ADMISSIONS                                  Connecticut Office of the Attorney General, and as a legislative extern to the
• Ninth Circuit Court of Appeals                  Judiciary Committee of the Connecticut General Assembly.
• D. Mass.
• D. Conn.                                        Notable Cases
• D. Colo.
• S.D.N.Y. and W.D.N.Y.                           •    Obtained a significant decision for consumers in Friedman v. Maspeth Fed.
                                                       Loan & Savings Ass’n, 30 F. Supp. 3d 183 (E.D.N.Y. 2014). In a case before the
                                                       Honorable Jack B. Weinstein, raising “issues of first impression on the reach
                                                       of the Real Estate Settlement Procedures Act,” Steve defeated a motion to
                                                       dismiss, and later obtained a settlement that reimbursed consumers for 100%
                                                       of their losses in the case which involved wrongful imposition of late charges
                                                       on timely received mortgage payments;

                                                  •    Lead associate in cases achieving notable recoveries under the Securities Act
                                                       of 1933, including City of Birmingham Retirement & Relief System v. MetLife,
                                                       Inc., Case No. CV-2012-902101 (Ala. Cir. Ct.) ($9.75 million settlement);
                                                       Rosenberg v. Cliffs Natural Resources, Inc., No. 2014 CV 828140 (Ohio Ct. Com.
                                                       Pleas) ($10 million settlement); and Niitsoo v. Alpha Natural Resources, Inc.,
                                                       No. AD-303-2014 (Pa. Ct. Com. Pleas) ($3.6 million settlement);

                                                  •    Lead associate in several successful appeals, including Cottrell v. Duke, 737
                                                       F.3d 1238 (8th Cir. 2013); Westmoreland County Employee Retirement System
                                                       v. Parkinson, 737 F.3d 719 (7th Cir. 2013); and Chavez v. Nestlé USA, Inc., 511
                                                       Fed. Appx. 606 (9th Cir. 2013);




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       •    Achieved several favorable decisions regarding the improper removal of class actions under the Securities
            Act of 1933, including Niitsoo v. Alpha Natural Resources, Inc., 902 F. Supp. 2d 797 (S.D. W. Va. 2012);
            Rosenberg v. Cliffs Natural Resources, Inc., 2015 WL 1534033 (N.D. Ohio Mar. 25, 2015); and Rajasekaran v.
            CytRx Corp., 2014 WL 4330787 (C.D. Cal. Aug. 21, 2014);

       •    Represented banks and other financial institutions in In re Home Depot Inc. Customer Data Security Breach
            Litig., 14-md-2583 (N.D. Ga.) ($27.25 million settlement; served on Plaintiffs’ Coordination & Discovery
            Committee); In re Target Corp. Customer Data Security Breach Litig., 14-md-2522 (D. Minn.) ($59 million
            settlement); and WinSouth Credit Union v. Mapco Express, Inc., No. 14-cv-1573 (M.D. Tenn.) (largest dollar-
            per-card settlement obtained on behalf of financial institutions involving data breach of credit and debit card
            information).




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                                             Nate Silver is an associate at Block & Leviton LLP, focusing his practice on
                                             securities litigation. Nate recently joined Block & Leviton from the Boston firm
                                             of J. W. Carney, Jr. & Associates, LLC, where he practiced criminal defense
                                             and appeals in state and federal court.

NATE SILVER                                  Nate also represented indigent individuals accused of crimes in state court as a
Associate                                    member of Middlesex Defense Attorneys, Inc., a non-profit organization that
                                             administers criminal defense services to those who cannot afford legal services.
    nate@blockesq.com
                                             While attending law school, Nate served as a senior editor for the Boston
                                             College Law Review.
EDUCATION
• Boston College Law School, J.D.,
   magna cum laude
• Suffolk University, B.A., History,
   magna cum laude

BAR ADMISSIONS
• Massachusetts
• New York

COURT ADMISSIONS
• First Circuit Court of Appeals
• D. Mass

PUBLICATIONS
•   Contributing author to Massachusetts
    Evidence: A Courtroom Reference (MCLE)




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                                                    Colin M. Downes is an associate with the firm who focuses his practice on
                                                    defending the rights and benefits of workers and retirees. His experience
                                                    includes cases brought under the Employee Retirement Income Security Act
COLIN M. DOWNES                                     (ERISA) involving employee stock ownership plans, excessive 401k and 403b
Associate                                           fees, pension plan underfunding, and the ERISA obligations of religiously
                                                    affiliated nonprofits. He has also provided pro bono representation to indigent
     colin@blockesq.com                             clients in contested asylum and child custody matters.

                                                    Prior to joining the firm, Colin practiced as an associate with Groom Law
                                                    Group (an employer-side employment benefits boutique) and with the
EDUCATION                                           international law firm Clifford Chance. Colin served on the editorial board of
• University of Virginia School of Law, J.D         the Virginia Law Review while in law school.
• University of Massachusetts, B.A.,
   Philosophy

BAR ADMISSIONS
• District of Columbia
• New York

COURT ADMISSIONS
• D. D.C.
• S.D.N.Y
• First Circuit Court of Appeals

PUBLICATIONS
• Appointing Chapter 11 Trustees in
   Reorganizations of Religious Institutions, 101
   Va. L. Rev. 2225 (2015)




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                                              Matt is an associate in the Firm’s Employee Benefits practices. After
                                              graduating magna cum laude from Duke Law School, Matt served as a law clerk
                                              to the Honorable Rosemary Barkett on the Eleventh Circuit Court of Appeals.
MATTHEW SMITH
Associate                                     Before joining Block and Leviton, Matt practiced at nationally­recognized
                                              plaintiffs’ firms based in Washington, D.C., and Seattle, Washington, where
     matt@blockesq.com                        his practice concentrated on antitrust and employee benefits cases. Matt
                                              collaborated with R. Joseph Barton in Severstal Wheeling, Inc. Retirement
                                              Committee et al. v. WPN Corp., et. al. (2d. Circuit). As part of a two-attorney
                                              trial team, they won a $15 million judgment on behalf of thousands of retired
EDUCATION                                     steelworkers. Matt has valuable experience serving as lead associate in a
• Duke Law School, J.D., L.L.M,               myriad of successful litigation, ranging from cases where military veterans
  magna cum laude & Order of the Coif         were wrongfully denied long-term disability benefits (Bush v. Liberty Life
• Columbia University, B.A., History          Assurance Co. of Boston et. al. (N.D. Cal.)), to nationally-contested issues of
                                              federal pension regulation (Kaplan v. Saint Peter’s Healthcare System, et. al. (3d
BAR ADMISSIONS                                Circuit)).
• California
• New York (inactive)
• District of Columbia (inactive)

COURT ADMISSIONS
• Second and Third Circuit Court of Appeals
• N.D. Cal. and C.D. Cal.
• E.D. Mich.
• D. Colo.




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                                                    Amanda Crawford is an associate in Block & Leviton LLP’s shareholder
                                                    litigation practice.

                                                    Before joining Block & Leviton, Amanda gained practical corporate work
                                                    experience in finance and employment law. During law school, she served as
AMANDA R. CRAWFORD                                  Executive Editor of the North Carolina Journal of International Law, Co-chair
Associate                                           of the Craven Moot Court Board, a research assistant to the Assistant Dean
                                                    of the Writing and Learning Resources at UNC School of law, a law clerk at
    amanda@blockesq.com
                                                    TIAA, and a summer associate at Mayer Brown LLP.


EDUCATION
• University of North Carolina School of Law,
   J.D.
• Eugene Gressman and Daniel H. Pollitt Oral
   Advocacy Award for Best Overall Argument
• Certificate of Merit for highest grade in Legal
   Research, Reasoning, Writing, and Advocacy
• California State University, Fullerton,
   Criminal Justice, cum laude

BAR ADMISSIONS
• Massachusetts

COURT ADMISSIONS
• D. Mass




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                                             Joseph McClellan is an associate in Block & Leviton LLP’s shareholder litigation
                                             practice.

JOSEPH MCCLELLAN                             Before joining Block & Leviton, Joseph gained securities litigation experience as
Associate                                    an Enforcement Attorney at the Massachusetts Securities Division, where he was
                                             the lead attorney on a number of cases involving dishonest and unethical conduct
     jmcclellan@blockesq.com
                                             and breaches of fiduciary duties.

                                             During law school, he was a student prosecutor at Boston University School of
                                             Law’s criminal clinic and won an award for best brief in the Edward C. Stone
EDUCATION                                    Moot Court Competition.
• Boston University Law School, J.D.
• CUNY Brooklyn College, B.A., Philiosophy
   and History, summa cum laude

BAR ADMISSIONS
• Massachusetts




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                                                Jeff Gray joined Block & Leviton as an associate in 2016, where his practice
                                                focuses on consumer class action litigation. Jeff is experienced in conducting
                                                large scale document review projects.

                                                Jeff is a member of the Block & Leviton LLP litigation team representing
JEFFREY GRAY                                    members of the class in the matter Volkswagen “Clean Diesel” MDL. Prior
Associate                                       to joining Block & Leviton, Jeff also received valuable experience with class
                                                action shareholder suits, breach of contract cases, and defense of trademark
    jgray@blockesq.com
                                                infringement claims, as well as SEC and DOJ investigations of pharmaceutical
                                                companies and hedge funds.
EDUCATION
• Suffolk University Law School, J.D.           Earlier in his career, Jeff was a management consultant at a financial services
• Sawyer Business School, Suffolk University,   firm in the Boston area and, prior to that, was a project manager in commercial
   M.B.A.                                       lending at FleetBoston Financial. While in law school, he completed internships
• Connecticut College, B.A., Economics          with MFS and with The Nature Conservancy and was a law clerk at CT
                                                Corporation System.
BAR ADMISSIONS
• Massachusetts




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                                                Elizabeth Newman joined Block & Leviton LLP as an associate in 2018. Her
                                                practice focuses on securities, antitrust, and class action litigation. She is
                                                currently a member of the litigation team representing shareholders in the In
ELIZABETH NEWMAN                                re McKesson Corporation Derivative Litigation matter. Prior to joining Block &
Associate                                       Leviton LLP, Elizabeth was a member of litigation teams on numerous cases
     enewman@blockesq.com                       including: In Re TFT-LCD (Flat Panel) Antitrust Litigation, M-07-1827 SI, MDL
                                                1827 (N.D.Cal.) (alleging price fixing of TFT panels, resulting in approximately
                                                $1.1 billion in settlements); In re Optical Disk Drive Products Antitrust Litigation,
                                                M:10-cv-2143-RS (N.D.Cal.) (alleging price fixing of electronic components
                                                used in DVDs, Blu-rays and CDs, resulting in $37 million in settlements);
EDUCATION
                                                In re Lithium Ion Batteries Antitrust Litigation, 13-md-02420-YGR (DMR)
• Golden Gate University School of Law, J.D.,
                                                (N.D.Cal.) (alleging price fixing of Li-Ion batteries, resulting in $64.45 million in
   Business Law Concentration
                                                settlements to date); Hamilton v. Barnes, et al. (Advanced Micro Devices), 4:15-cv-
• University of California, Berkeley, B.A.,
   History                                      01890-YGR (N.D.Cal.) (alleging false and misleading statements and omissions,
                                                resulting in a $29.5 million settlement); In re Apple Iphone/Ipod Warranty
BAR ADMISSIONS                                  Litigation, CV-10-01610 (N.D.Cal.) (alleging failure to honor warranties,
• California                                    resulting in a $53 million settlement); In re Anthem Inc. Data Breach Litigation,
                                                15-MD-02617-LHK (N.D.Cal.) (alleging a data security breach compromising
COURT ADMISSIONS                                the records of 79 million members, and resulting in a $115 million settlement).
• E.D. Cal.
                                                While in law school, Elizabeth received the Witkin Award for Securities
                                                Regulation, the CALI Award for Appellate Advocacy, the CALI Award for
                                                Contracts II, and was a member of the Moot Court Board. Prior to her legal
                                                career, Elizabeth worked in Contracts and Licensing at Oracle Corporation.




       www.blockesq.com
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Contact Us



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Case 1:15-cv-00608-SS Document 144-1 Filed 11/01/19 Page 75 of 121
Case 1:15-cv-00608-SS Document 144-1 Filed 11/01/19 Page 76 of 121
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                  EXHIBIT 4
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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 In re EZCORP, INC. SECURITIES           Lead Case No. 1:15-CV-00608-SS
 LITIGATION
                                         Honorable Sam Sparks




           DECLARATION OF JOE KENDALL, ESQ. IN SUPPORT OF LEAD
          COUNSEL’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
          REIMBURSEMENT OF LITIGATION EXPENSES FILED ON BEHALF
                     OF THE KENDALL LAW GROUP, PLLC




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I, JOE KENDALL, declare as follows:

             1. I am a partner at The Kendall Law Group, PLLC (the “Kendall Law Group”).1 The

Kendall Law Group was appointed local counsel in the above-captioned action (the “Action”). I

submit this declaration in support of Lead Counsel’s application for an award of attorneys’ fees in

connection with services rendered in the Action, as well as for reimbursement of litigation

expenses incurred in connection with the Action. I have personal knowledge of the facts set forth

herein and, if called upon, could and would testify thereto.

        2.        In its capacity as local counsel in this Action, the Kendall Law Group, among other

things, reviewed and commented on draft pleadings, facilitated filings with the Court, ensured that

Lead Counsel complied with local rules, customs, and practices, and attended Court hearing.

        3.        The schedule attached hereto as Exhibit 1 is a detailed summary indicating the

amount of time spent by attorneys and professional support staff employees of my firm who, from

inception of the Action through and including October 25, 2019, billed time to the Action, and the

lodestar calculation for those individuals based on my firm’s current billing rates. For personnel

who are no longer employed by my firm, the lodestar calculation is based upon the billing rates

for such personnel in his or her final year of employment by my firm. The schedule was prepared

from contemporaneous daily time records regularly prepared and maintained by my firm.

        4.        I am the partner who oversaw or conducted the day-to-day activities in the Action

and I reviewed these daily time records in connection with the preparation of this declaration. The

purpose of this review was to confirm both the accuracy of the records as well as the necessity for,

and reasonableness of, the time committed to the litigation. As a result of this review, I made




1
  Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in
the Stipulation and Agreement of Settlement, dated July 18, 2019 (ECF No. 137-1).


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reductions to certain of my firm’s time entries such that the time included in Exhibit 1 reflect that

exercise of billing judgment. Based on this review and the adjustments made, I believe that the

time of Kendall Law Group attorneys and staff reflected in Exhibit 1 was reasonable and necessary

for the effective and efficient prosecution and resolution of the Action. No time expended on the

application for fees and reimbursement of expenses has been included.

        5.        The hourly rates for the attorneys and professional support staff included in Exhibit

1 are consistent with the rates approved by courts in other litigation.

        6.        The total number of hours reflected in Exhibit 1 is 33.9. The total lodestar reflected

in Exhibit 1 is $27,555.00, consisting of $27,555.00 for attorneys’ time and $0 for professional

support staff time.

        7.        My firm’s lodestar figures are based upon the firm’s billing rates, which rates do

not include charges for expense items. Expense items are billed separately and such charges are

not duplicated in my firm’s billing rates.

        8.        As detailed in Exhibit 2, my firm is seeking reimbursement of a total of $2193.24

in expenses incurred in connection with the prosecution of this Action.

        9.        The litigation expenses incurred in the Action are reflected on the books and records

of my firm. These books and records are prepared from expense vouchers, check records, and

other source materials and are an accurate record of the expenses incurred. The expenses reflected

in Exhibit 2 are the expenses actually incurred by my firm

        10.       Attached hereto as Exhibit 3 is a brief biography of the Kendall Law Group,

including the attorneys who were involved in the Action.




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        I declare, under penalty of perjury, that the foregoing is true and correct. Executed on this

October 31, 2019, in Dallas, Texas.



                                                      /s/ Joe Kendall
                                                      JOE KENDALL




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                                     EXHIBIT 1

                        In re EZCORP, Inc. Securities Litigation
                           Lead Case No. 1:15-CV-00608-SS

                           THE KENDALL LAW GROUP

                             LODESTAR REPORT
                  FROM INCEPTION THROUGH OCTOBER 25, 2019

  TIMEKEEPER/CASE        STATUS                HOURS          RATE      LODESTAR
  ATTORNEYS:
  Joe Kendall            Partner                  30.3     $850.00      $25,755.00
  Jamie McKey            Associate                 3.6     $500.00       $1800.00
  TOTAL ATTORNEY                                  33.9
  TOTAL LODESTAR                                                        $27,555.00




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                                     EXHIBIT 2

                        In re EZCORP, Inc. Securities Litigation
                           Lead Case No. 1:15-CV-00608-SS

                           THE KENDALL LAW GROUP

                                EXPENSE REPORT

                  FROM INCEPTION THROUGH OCTOBER 25, 2019


  ITEM                                         AMOUNT
  SPECIAL POSTAGE                              $67.33
  ONLINE RESEARCH                              $22.20
  COURT FILING FEES                            $2061.71
  PARKING                                      $42.00
  GRAND TOTAL                                  $2193.24




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                                             EXHIBIT 3




FIRM RESUME

        Kendall Law Group was founded by former federal judge Joe Kendall. It is a boutique trial

law firm. Led by Judge Kendall, the firm brings value-added assistance to their clients in complex

class action, securities, and business litigation matters.

        Since 2002, in class action securities fraud cases, the lawyers at Kendall Law Group have

participated in obtaining over $1 billion dollar for shareholders. The Kendall Law Group has

served as lead, co-lead, or local counsel in numerous merger & acquisition, derivative, and

securities fraud class action matters, including: The George Leon Family Trust, Individually and

on Behalf of All Others Similarly Situated v. Chicago Bridge & Iron Company N.V., et al., Lead

Case No. 4:18-cv-0273 (S.D.Tex.); Mona Abouzied, Individually and on Behalf of All Others

Similarly Situated v. Applied Optoelectronics, Inc., et al., Civil Action No. 4:17-cv-02399 (S.D.

Tex.); Pedro Ramirez, Jr. Individually and on Behalf of All Others Similarly Situated v. Exxon

Mobil Corporation, et al., Case No. 3-16-cv-3111-K (N.D. Tex.); Anthony Giovagnoli,

Individually and on Behalf of All Others Similarly Situated v. GlobalSCAPE, et al., Case No. 5:17-

cv-00753 (S.D. Tex.); City of Pontiac General Employees’ Retirement System, Individually and

On Behalf of All Others Similarly Situated v. Hanger, Inc., et al., Case No. A-14-CA-1026-SS

(W.D. Tex.); Mary McCloskey, Individually and On Behalf of All Others Similarly Situated v.

Match Group, Inc., et al., Civil Action No. 3:16-cv-00549-S (N.D. Tex.);            Anton Steyn,

Derivatively on Behalf of 3D Systems Corporation v. Abraham N. Reichental, et al., Case No.

2015-CP-46-2225 (16th Judicial Circuit Court of Common Pleas, South Carolina); In re United


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Development Funding IV Securities Litigation, Master File No. 3:15-cv-4030-M (N.D. Tex.);

Richard J. Isolde, Individually and on Behalf of all Others Similarly Situated, v. Trinity Industries,

Inc., et al., Civil No. 3:15-CV-2093-K, (N.D. Tex.); In re EZCORP, Inc. Securities Litigation,

Master File No. 1:15-cv-00608-SS, (W.D. Tex.); Yochanan Markman, Individually and on Behalf

of All Others Similarly Situated, v. Whole Foods Market, Inc., et al., Civil Action No. 1:15-cv-

00681-LY, (W.D. Tex.); In re BP plc Securities Litigation, Civil Action Nos. 4:10-md-02185,

4:12-cv-3714, 4:12-cv-3715, 4:15-cv-02704, (S.D. Tex.); Edward Ogden, Derivatively on Behalf

of Cobalt International Energy Inc. v. Joseph H. Bryant, et al., Civil Action No. 4:15-cv-00139

(S.D. Tex.); City of Pontiac General Employees’ Retirement System v. Dell Inc., et al., Civil Action

No. 1:15-cv-00374-LY (W.D. Tex.); Margaret Budde and Daniel Ream, Individually and On

Behalf of All Others Similarly Situated v. Global Power Equipment Group, Inc., et al., Civil Action

No. 3:15-cv-1679-M (W.D. Tex.); City of Pontiac General Employees’ Retirement System v.

Hanger, Inc., et al., Civil Action No. 1:14-cv-01026-SS (W.D. Tex.); Jan Buettgen, on Behalf of

Himself and All Others Similarly Situated v. Katherine J. Harless, et al., Civil Action No. 3:09-

cv-00791-K (N.D. Tex.); In re Key Energy Services, Inc. Securities Litigation, Civil Action No.

4:14-cv-2368 (S.D. Tex.); In re Kosmos Energy Ltd Securities Litigation, Civil Action No. 3:12-

cv-373 (N.D. Tex.); Nasser Moradi, et al., v. Sheldon Gary Adelson, et al., Case No. 2:11-cv-490

(D. Nevada); In re Life Partners Holdings, Inc. Derivative Litigation, Civil Action No. 2:11-cv-

00043 (W.D. Tex.); Mary K. Jones v. Pfizer Inc., et al., Civil Action No. 1:10-cv-03864

(S.D.N.Y.); Richard Steck v. Santander Consumer USA Holdings Inc., et al., Civil Action No.

3:15-cv-2129 (N.D. Tex.); Justin Pierce and Hillary Kay, Derivatively on Behalf of AT&T Inc. v.

Randall L. Stephenson, et al., Cause No. DC-14-13645, (193rd District Court, Dallas County,

Texas); Jacob Hulsebus, et al. v. Belo Corp., et al., Cause No. DC-13-06601, (68th District Court,




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Dallas County, Texas); Ron Phillips and Scott Moorehead, Derivatively on Behalf of CLST

Holdings, Inc., v. Timothy S. Durham, et al., Cause No. DC-10-07655 (134th District Court, Dallas

County, Texas); Regan Held, et al., v. C. Kelly Hall, et al., Cause No. CC-11-05258-D, (County

Court No. 4, Dallas County, Texas); David Flecker, Individually and on Behalf of All Others

Similarly Situated and Derivatively on Behalf of Pioneer Southwest Energy Partners L.P., Cause

No. DC-13-05371-G (134th District Court, Dallas County, Texas); In re U.S. Home Systems, Inc.

Shareholder Litigation, Cause No. CC-12-04962-B (County Court No. 2, Dallas County, Texas);

Terry Neff, Derivatively on Behalf of Weatherford International Ltd., et al., v. Nicholas F. Brady,

et al., Cause No. 2010-40764 (270th District Court, Harris County, Texas); In re Burlington

Northern Santa Fe Corporation Shareholder Class Action Litigation, Cause No. 348-241465-09,

(348th District Court, Tarrant County, Texas) In re Affiliated Computer Services Derivative

Litigation, Master File No. 3:06-cv-1110-M (N.D. Tex.); In re Cablevision Systems Corp.

Shareholder Derivative Litigation, Master File No. CV-06-4130 (E.D.N.Y.); Ryan v. Flowserve

Corp., Civil Action No. 3:03-CV-01769 (N.D. Tex.); Blackmoss Investments v. Gravity Corp., et.

al., Civil Action No. 1:05-CV-04804-LAP (S.D.N.Y.); In re Guidant Corp. Securities Litigation,

Master File No. 1:05- CV-01658-SEB-WTL (S.D. Ind.); In re 7-Eleven Shareholders Litigation,

No. 05-089344-M (District Court Dallas County, Texas); In re Impac Mortgage Holdings, Inc.,

Case No. 8:06-cv-00091-CJC-RNB (C.D. Cal.); In re Fossil Derivative Litigation, Cause No.

3:06-cv-01672-P (N.D. Tex.); Dillingham v. Schmitz, Cause No. 2005C119934 (288th District

Court, Bexar County, Texas); Alaska Electrical Pension Fund v. Brown, et al., Cause No. 6:04-

CV-464 (E.D. Tex.); Holowach v. Gilliland, et al., Cause No. 017-221963-07 (17th District Court,

Tarrant County, Texas); Levy Investments v. Donald Steen, et al., Cause No. DC-07-00208 (101st

District Court Dallas County, Texas); In re Petco Animal Supplies, Inc., Shareholder Litigation,




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Case No. GIC 869399 (Superior Court, San Diego, California); Frank Capovilla v. Lone Star

Technologies, Inc., et al., Cause No. DC-07-002979 (14th District Court, Dallas County, Texas);

Louis Dudas v. Encore Medical Corporation, et al., Cause No. D-1-GN-002495 (345th District

Court, Travis County, Texas); Waggoner v. Ryan, et al, Cause No. CC-05-13893 (County Court

at Law No. 2, Dallas County, Texas); Evans v. Paulson, et al., Cause No. 05-01818-JMR-FLN (D.

Minn.); In re Accuray, Inc. Shareholder Derivative Litigation, Case No. C 09 05580 CW (N.D.

Cal.); In re Microtune, Inc. Litigation, Cause No. 219-03729-2010 (219th District Court, Collin

County, Texas); Edward Ferguson v. Louis Raspino, et al., Cause No. 2010-23805 (281st District

Court, Harris County, Texas); In re Duncan Energy Partners L.P. Shareholder Litigation, Cause

No. 2011-13981 (269th District Court, Harris County, Texas); and others.




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JOE KENDALL

        Former United States District Judge Joe Kendall is the managing partner of Kendall Law

Group. Mr. Kendall served on the federal bench in the Northern District of Texas from 1992-

2002, appointed by President George Herbert Walker Bush. He was unanimously confirmed by

the U.S. Senate. At the time of his appointment, he was the youngest U.S. District Judge in the

country. He also served as a state district judge on the 195th Judicial District Court in Dallas from

1987-1992. In his judicial career, he has presided over approximately 500 jury trials and disposed

of over 11,000 cases. Mr. Kendall has a B.B.A. from the Cox School of Business at Southern

Methodist University and a law degree from Baylor University.            Mr. Kendall served as a

Commissioner on the United States Sentencing Commission from 1999 through 2002, appointed

by President Bill Clinton.

        Since leaving the bench and returning to trial work, Mr. Kendall has had tremendous

success at the prosecution of patent, consumer and securities class action litigation either as lead,

co-lead or local counsel.

        While on the federal bench, Mr. Kendall handled numerous class actions of various types

and presided over in excess of 100 civil jury trials, including complex litigation, securities,

antitrust, qui tam, medical malpractice, products liability, and patent infringement cases. He

presided over a multi-district litigation case, and also handled environmental and CERCLA cases.

Author of more than 250 judicial opinions published in the federal reporters or legal research

databases, his more notable cases include, Ozee v. American Council on Gift Annuities (an antitrust

class action against the most prominent charities in the nation), SBC Communications v. AT&T (to

determine the constitutionality of certain provisions of the Telecommunications Act of 1996),

American Airlines, Inc. v. Allied Pilots Association (the pilots sickout dispute in 1999), and




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Johnson v. City of Dallas (a case brought by homeless persons to determine the constitutionality

of a city ordinance prohibiting sleeping in public). In his career as a lawyer, Mr. Kendall has tried

more than 100 jury trials to judgment.

        Additionally, Mr. Kendall taught new federal judges for the Federal Judicial Center in

Washington, D.C. and has taught docket management techniques to experienced federal judges

throughout the country. He is a former board member of the Federal Judges Association and was

editor of In Camera, the newsletter of the Federal Judges Association.

                    SIGNIFICANT DECISIONS OF JUDGE JOE KENDALL

 1. Sharju Ltd. Partnership v. Choice Hotels                2. Smith v. Nine West Group, Inc., Case No. 3:98-CV-
 International, Inc., Case No. 3:01-CV-2605-X               1331-X.
 3. BKS Properties v. Shumate, 271 B.R. 794.                4. Jones v. Prime, Inc., Case No. 3:99-CV-1514-X.
 5. Kennedy v. Barnhart, Case No. 3:00-CV-2472-X.           6. Sentry Insurance Co. v. Greenleaf Software, Inc.,
                                                            Case No. 3:99-CV-1232-X.
 7. Loosier v. Anderson, Case No. 3:00-CV-2528-X.           8. Poindexter v. R.J. Reynolds Tobacco Co., Case No.
                                                            3:99-CV-0262-X.
 9. Gibson v. Atlantic Southeast Airlines, Case No.         10. Whitworth v. TNT Bestway Transportation, Inc.,
 3:00-CV-2712-X.                                            Case No. 3:96-CV-0382-X.
 11. Methodist Hospitals v. Prudential Healthcare,          12. Media Farm, Inc. v. eToll, Inc., Case No. 3:99-CV-
 Case No. 3:01-CV-1999-X.                                   2578-X.
 13. McMillon v. Fleming, Case No. 4:01-CV-815-X.           14. In re Great Southern Life Insurance Co. Sales
                                                            Practices Litigation, MDL No. 1214.
 15. United States v. Morris, 176 F. Supp.2d 668.           16. Martin v. United States Postal Service, Case No.
                                                            3:99-CV-0670-X.
 17. Smith v. Tarrant County, Case No. 4:99-CV-0657-        18. Taylor v. Underwood, Case No. 3:99-CV-2632-X.
 X.
 19. Wilkerson v. Wells Fargo Bank, Case No. 3:01-              20. Harrison v. City of Dallas, Case No. 3:99-CV-
 CV-0117-X.                                                     1209-X.
 21. Martinez v. 291st Judicial District Court, Case No.        22. Kondos Employee Health Care Plan v. First
 3:01-CV-1907-X.                                                Integrated Health, Inc., Case No. 3:99-CV-2190-X.
 23. Ventura Vera v. Estrada, Case No. 3:01-CV-1044-            24. Jones v. Fujitsu Network Communications, Inc., 81
 X.                                                             F. Supp.2d 688.
 25. Patt v. Sweetheart Cup Co., Case No. 3:99-CV-              26. Sims v. Ware, Case No. 3:95-CV-177-X.
 2443-X.
 27. Ross v. Massanari, Case No. 3:00-CV-2454-X.                28. United States v. Hughes, 71 F. Supp.2d 605.
 29. Cunningham v. Gibson, Case No. 3:01-CV-1522-               30. American Airlines, Inc. v. Allied Pilots Association,
 X.                                                             53 F. Supp.2d 909.

 31. Ramirez v. Cornet Enterprises, Inc., Case No.          32. Barrett v. Clarendon National Insurance Co., Case
 3:01-CV-1317-X.                                            No. 3:93-CV-1451-X.
 33. Collins v. Merck-Medco Prescription Services of        34. Heritage Worldwide, Inc. v. World Color Press,
 Texas, LLC, Case No. 3:00-CV-1852-X.                       Inc., Case No. 3:96-CV-3356-X.
 35. Cunningham v. Bienfang, Case No. 3:00-CV-0448-         36. Seawright v. Charter Furniture Rental, Inc., 39 F.
 X.                                                         Supp.2d 795.



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 37. Transamerica Equipment Financial Services Corp.           38. Lockhart v. AT&T, Case No. 3:97-CV-3021-X.
 v. Amwest Surety Insurance Co., Case No. 3:00-CV-
 2321-X.
 39. Securities & Exchange Commission v. Bachani,          40. Golman-Hayden Co. v. Fresh Source Produce, 27
 Case No. 3:01-CV-1744.                                    F. Supp.2d 723.
 41. Rogers v. Paquet, Case No. 3:01-CV-0969-X.            42. Mayes v. LIN TV, Case No. 3:96-CV-0396-X.
 43. PriceWaterhouse Coopers, LLP v. Litzler (In re        44. Gossom v. J.O.S., Inc., Case No. 3:96-CV-0374-X.
 Harbor Financial Group, Inc.), Case No. 3:00-CV-
 1283-X.
 45. Washington International v. Industry Insurance            46. Morse v. Escobedo, Case No. 3:98-CV-0686-X.
 Co., Case No.3:00-CV-0196-X.
 47. Estep v. Dallas County, Case No. 3:95-CV-0799-            48. Richardson v. Apfel, 9 F. Supp.2d 666.
 X.
 49. Seppy v. City of Irving, Case No.3:00-CV-0386-X.          50. Myers v. Top Tobacco Co., L.P., Case No. 3:97-
                                                               CV-2464-X.
 51. Friday v. Halter, Case No. 3:01-CV-0901X.                 52. Colbert v. Georgia-Pacific Corp., 995 F. Supp.
                                                               697.
 53. Rodriguez v. Snider, Case No. 3:01-CV-0688-X.             54. ARA Automobile Group v. Central Garage, Case
                                                               No. 3:89-CV-1389.
 55. Kisiel v. RAS Securities Corp., Case No. 3:01-CV-         56. Hanafy v. United States, 991 F. Supp. 794.
 0294-X.
 57. Compana, L.L.C. v. Agile Software Corp., Case             58. SBC Communications. v. Federal Communications
 No. 3:01-CV-1164-X.                                           Commission, 981 F. Supp. 996.
 59. Guan v. Harrington, Case No. 3:00-CV-2347-X.              60. Gonzales v. Johnson, 994 F. Supp. 759.
 61. Management Insights, Inc. v. APG, Inc., Case No.          62. Dippin' Dots v. Mosey, Case No. 3:96-CV-1959-X.
 3:00-CV-2779-X.


 63. Zurich Automobile Insurance Co. v. Boyes (In re           64. Waste Control Specialists v. United States
 Zurich Automobile Insurance Co.), Case No. 3:99-CV-           Department of Energy, Case No. 7:97-CV-202-X.
 2350-X.
 65. Dalfort Aerospace, Inc. v. Airline Division of the        66. In re Future Communications, Inc. Securities
 International Brotherhood of Teamsters, Case No.              Litigation, Case No. 3:93CV-2064X.
 3:01-CV-006-X.
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 75. Rose v. Digital Convergence Communications,               76. Calmes v. United States, 926 F. Supp. 582.
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 79. Johnson v. Dillard Department Stores, Inc., Case      80. McDaniel v. Southern Pacific Transportation, 932
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 81. Bank One Arizona, N.A. v. Wilton Partners Hurst,      82. Burnett Plaza Associates v. NCNB Texas National
 et al, Case No. 3:00-CV-2254-X.                           Bank, Case No. 3:89-CV-1290-X.
 83. Williams v. GTE, Case No. 3:00-CV-2380-X.             84. Holdbrook v. California Federal Bank, 905 F.
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 85. Harrison v. GMC, Case No. 3:00-CV-1272-X.             86. Nelson v. Reddy, 898 F. Supp. 409.
 87. Alfaro v. Leather Center, Inc., Case No. 3:00-CV-     88. Maxus Energy Corp. v. United States, 898 F. Supp.
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 89. Transamerica Equipment Financial Services Corp.           90. DSC Communications Corp. v. DGI Technologies,
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 91. Hines v. AC & S, Inc., Case No. 3:00-CV-2637X.            92. Trinity Industries v. United Steelworkers, 891 F.
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 115. Searcy v. Texas Universal Health Plan, Inc., Case        116. Figari & Davenport, L.L.P. v. Continental
 No. 3:99-CV-2380-X.                                           Casualty Co., 864 F. Supp. 11.



JAMIE J. MCKEY

        Jamie J. McKey graduated Magna Cum Laude from St. Mary’s University School of

Law in 2006. During her second year of law school, Jamie clerked for the Honorable Barbara

Hervey at the Texas Court of Criminal Appeals, Texas’ highest criminal court. Following

graduation, Jamie pursued her legal career as a Briefing Attorney for Judge Hervey at the Texas

Court of Criminal Appeals.

        After the one year commitment to the Court of Criminal Appeals, Jamie worked in San

Antonio, Texas, practicing criminal law as well as civil law. In 2008, Jamie moved to Dallas and

joined The Bassett Firm, in Dallas as a litigation appellate attorney for many high-profile clients.

The bulk of Jamie’s practice focused on Business and Commercial Litigation.



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        In 2010, Jamie joined the Kendall Law Group focusing almost exclusively on complex

business litigation matters, merger & acquisition, shareholder derivative, and securities fraud

class actions. Jamie is admitted to practice before all Texas state courts, as well as all Federal

District Courts of Texas and the Fifth Circuit Court of Appeals.




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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS




    In re EZCORP, Inc. Securities Litigation            Master File No. 1:15-cv-00608-SS




        DECLARATION OF LEAD PLAINTIFF JOHN ROONEY IN SUPPORT OF:
        (1) PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION
                 SETTLEMENT AND PLAN OF ALLOCATION; AND
       (2) LEAD COUNSEL’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES
                AND REIMBURSEMENT OF LITIGATION EXPENSES

I, John Rooney, declare as follows:

         1.     I am the Court appointed Lead Plaintiff in the above-captioned securities class

action (the “Action”).1 I respectfully submit this declaration in support of (i) Plaintiffs’ motion for

final approval of the proposed Settlement and approval of the proposed Plan of Allocation; and

(ii) Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation

Expenses, including approval of my request to recover the reasonable costs and expenses I incurred

in connection with my representation of the Settlement Class in the prosecution of this Action.

         2.     I am aware of and understand the requirements and responsibilities of a

representative plaintiff in a securities class action, including those set forth in the Private Securities

Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §§ 78u-4; 77z-1. I have personal knowledge

of the matters set forth in this declaration, as I have been directly involved in monitoring and




1
  Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in
the Stipulation and Agreement of Settlement dated July 18, 2019 (ECF No. 137-1).




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overseeing the prosecution of the Action, as well as the negotiations leading to the Settlement, and

I could and would testify competently to these matters.

I.      LEAD PLAINTIFF’S OVERSIGHT OF THE LITIGATION
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����������������������������������������������������������������������������(ECF No. 1). ���

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�����������������������������������������������(ECF No. 24). One other individual moved to

serve as Lead Plaintiff in the Action. (ECF No. 12). Huang withdrew as Co-Lead Plaintiff on

December 26, 2017 (ECF No. 75), and I have served as sole Lead Plaintiff since. �

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II.     APPROVAL OF THE SETTLEMENT

        6.       Through my active participation, I was kept �������� of the progress of the

settlement negotiations in this litigation. Before, during and after the mediation process presided




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over by Robert Meyer, I conferred with my attorneys regarding the parties’ respective positions

and the mediator’s recommendation.

        7.      Based on my involvement throughout the prosecution and resolution of the claims

asserted in the Action, I believe that the Settlement provides an excellent recovery for the

Settlement Class, particularly in light of the risks of continued litigation. Thus, I believe that the

proposed Settlement is fair, reasonable, and adequate to the Settlement Class and I strongly

endorse approval of the Settlement by the Court.

III.    LEAD COUNSEL’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
        REIMBURSEMENT OF LITIGATION EXPENSES

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        10.     I understand that ������������� of a class representative’s reasonable costs and

expenses is authorized under the PSLRA, 15 U.S.C. §§ 77z-1(a)(4); 78u-4(a)(4). For this reason,

in connection with Lead Counsel’s request for reimbursement of Litigation Expenses, I am seeking

reimbursement for the costs and expenses that I incurred directly relating to my representation of

the Settlement Class in the Action.




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       11.     The time that I devoted to the representation of the Settlement Class in this Action

was time that I otherwise would have spent at my job or engaged on other activities and, thus,

represented a cost to me. I seek reimbursement in the amount of $7,500 for the time I devoted to

participating in this Action. I make this request based on the conservative effort that I devoted at

least 60 hours in the litigation-related activities described above, including travel to and from

Boston for my deposition, based on a rate of $125 per hour. It is my belief that its request for

reimbursement is fair and reasonable.

IV.    CONCLUSION

       12.     In conclusion, I was closely involved throughout the prosecution and settlement of

the claims in this Action, strongly endorse the Settlement as fair, reasonable, and adequate, and

believe that the Settlement represents a significant recovery for the Settlement Class. I appreciate

the Court’s attention to the facts presented in my declaration and respectfully request that the Court

approve: (a) Plaintiff’s motion for final approval of the proposed Settlement and approval of the

Plan of Allocation; (b) Lead Counsel’s motion for an award of attorneys’ fees and reimbursement

of litigation expenses; and (c) my request for reimbursement of the reasonable costs and expenses

incurred in prosecuting the Action on behalf of the Settlement Class.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.


                       10 / 29 / 2019
       Executed on ____________________ at Dublin, Ireland.




                                           John Rooney




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